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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                    IN THE UNITED STATES DISTRICT COURT              November 07, 2019
                    FOR THE SOUTHERN DISTRICT OF TEXAS                David J. Bradley, Clerk
                              HOUSTON DIVISION


HESS CORPORATION,                        §
                                         §
                    Plaintiff,           §
                                         §
v.                                       §      CIVIL ACTION NO. H-16-3415
                                         §
SCHLUMBERGER TECHNOLOGY                  §
CORPORATION,                             §
                                         §
                    Defendant.           §


                          MEMORANDUM OPINION AND ORDER


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     Pending before the court are Defendant Schlumberger Technology

Corporation's Motion for Summary Judgment              ("STC's MSJ") (Docket

Entry No. 116), and Hess Corporation's Motion for Partial Summary

Judgment on Schlumberger's Affirmative Defense of Release and

Counterclaim for Indemnity ("Hess's MPSJ") (Docket Entry Nos. 117

(redacted) and 118 (unredacted)).         For the reasons stated below,

STC's MSJ will be granted in part and denied in part, and Hess's

MPSJ will be granted in part and denied in part.            Also pending are

Hess Corporation's Motion to Exclude Expert Report of Lawyer

Cary A.   Moomjian    (Docket    Entry    Nos.   119    (redacted)   and   120

(unredacted) ) and a number of motions seeking to exclude the

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(Docket Entry No.     121);     Schlumberger Technology Corporation's

Motion to Exclude the Expert Testimony of David Hirth (Docket Entry

No. 122); Schlumberger Technology Corporation's Motion to Exclude

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Schlumberger Technology Corporation's Motion to Exclude the Expert

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Technology Corporation's Motion to Exclude the Expert Testimony of

Rolle Hogan (Docket Entry No. 125).


                        I.    Motions to Exclude

     Hess moves to exclude the Moomjian Report arguing that his

"legal opinions    interpreting     the                indemnity-and-release

                                    -4-
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provisions should be excluded because they are irrelevant and do
not provide meaning to any specialized or scientific terms of
art."1    On the first page of his report Lawyer Cary A. Moomjian
states:      "I have been retained in relation to the Litigation for
the   sole     purpose    of    providing    my    expert   opinion     on   the

applicability        of   the     releases     and      indemnities     between
[Schlumberger] and Hess under the relevant contracts. I will limit
this Report & Opinion to that issue and related matters."2              Because
the parties do not contend that the contract language at issue is

ambiguous,     the   applicability     of    the     contract's   release    and
indemnity provisions present questions of law for the court to
decide.   See Coker v. Coker, 650 S.W.2d 391, 393 (Tex. 1983) ("If
the written instrument is so worded that it can be given a certain
or definite legal meaning or interpretation,                 then it is not
ambiguous and the court will construe the contract as a matter of
law.").
      Under Rule 702 an expert must possess "specialized knowledge
[that] will help the trier of fact to understand the evidence or to
determine a fact in issue."           Fed. R. Evid. 702(a).           The Fifth



      Hess Corporation's Motion to Exclude Expert Report of Lawyer
      1

Cary A. Moomjian ("Hess's Motion to Exclude Moomjian Report"),
Docket Entry Nos. 119 (redacted) and 120 (unredacted), pp. 3-4.
      Report and Opinion of C. A. Moomjian, Jr., President, CAM
      2

OilServ Advisors LLC ("Moomjian Report"), p. 1:32-35, Exhibit 1 to
Hess's Motion to Exclude Moomjian Report, Docket Entry No. 120-2,
p. 2:32-35.
                                      -5-
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Circuit has consistently held that legal opinions are not a proper

subject of expert testimony because they do not assist the trier of
fact in understanding the evidence, but instead merely tell the
trier of fact what result to reach.             See Estate of Sowell v.
United States, 198 F.3d 169, 171-72 (5th Cir. 1999) (forbidding

expert   testimony     as   to   whether    a   fiduciary     was    "acting
reasonably"); Askanase v. Fatjo, 130 F.3d 657, 672-73 (5th Cir.
1997) (holding that the trial court properly excluded expert legal
opinions as to whether defendants           breached various fiduciary
duties); Salas v. Carpenter, 980 F.2d 299, 305 (5th Cir. 1992)
(noting that expert testimony must bring to the trier of facts more
than the lawyers can offer in argument). Because the applicability
of the releases and indemnities in the parties' contract presents
questions of law for the court to decide, because the Moomjian
Report offers only legal opinions, and because the legal questions
at issue have been fully briefed by the parties, Hess's Motion to
Exclude the Moomjian Report will be granted.
     Schlumberger moves to exclude the expert testimony of Rolle
Hogan arguing that he is neither qualified nor able to opine on
provisions of the parties' contract. 3       Hess responds that it "does
not intend to offer Mr. Hogan to tell the Court how to interpret
the unambiguous [contract]. That is for the Court to decide, which



     3
      Schlumberger Technology Corporation's Motion to Exclude the
Expert Testimony of Rolle Hogan, pp. 5-11, Docket Entry No. 125,
pp. 10-16.
                                    -6-
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is    the     precise     reason     why   Hess   has   moved   to    exclude    the

inadmissible legal opinions of Schlumberger's lawyer expert. " 4
Hess also states:            "If the Court grants Hess's motion,                then
Schlumberger's becomes moot; Hess will de-designate Mr. Hogan as an
expert witness, and call him instead only as a fact witness." 5

Because the court has decided to grant Hess's Motion to Exclude the
Moomjian Report,          Schlumberger's Motion to         Exclude     the Expert
Testimony of Rolle Hogan will be denied as moot.
       The court's usual practice is to rule on motions to exclude
expert testimony during the course of                   trial because experts
frequently modify their opinions,                 and at trial counsel often
establish       more     extensive    predicates     for   experts'    testimony.
Moreover, the context in which an expert's opinion is offered is
necessary to effectively rule on such issues.                   Accordingly, the

remaining motions to exclude expert testimony, which deal with
disputed fact issues concerning liability, causation, and damages,
will all be denied without prejudice to being reurged during trial.


              II.   Undisputed Facts and Procedural Background

       This is a breach of contract action arising from the failure
of four Subsurface Safety Valves ("SSVs") that Hess purchased from
Schlumberger for Wells B, C, and D in the Tubular Bells Field of


      Hess Corporation's Response in Opposition to Schlumberger
       4

Technology Corporation's Motion to Exclude Expert Testimony of
Rolle Hogan, Docket Entry No. 134, p. 1.
       5
           Id. at n.l.
                                           -7-
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the Mississippi Canyon on the Outer Continental Shelf of the Gulf

of    Mexico     approximately   135   miles   southeast   of   New   Orleans,

Louisiana. 6      Hess is the operator of the Tubular Bells Field, and

Chevron is the non-operating working interest owner.               The subsea

wells are connected to the Gulfstar One production facility. 7

       The contract consists of multiple agreements and project

documents,       including:   Commercial Agreement Number 46000010410

("Commercial Agreement") effective April 18, 2012; 8 Hess project

document titled "GoM Tubular Bells & Llano 4 SCSSV Requirements

Rev. 5" incorporated into the Commercial Agreement at Exhibit A -

Scope of Work; 9 Schlumberger Quality Control Plan dated March 22,

2012, incorporated into the Commercial Agreement at Exhibit J; 10


      The following facts are derived from the factual allegations
       6

included in Plaintiff's Third Amended Complaint ("TAC"), Docket
Entry No. 71, pp. 11-29, and from the factual statements included
in STC's MSJ, pp. 5-11, Docket Entry No. 116, pp. 11-17, and Hess's
MPSJ, pp. 2-7, Docket Entry No. 118, pp. 9-14. Page numbers for
docket entries in the record refer to the pagination inserted at
the top of the page by the court's electronic filing system.
       7
           Id.

      Exhibit 1 - Tab 1 to Plaintiff's Second Amended Complaint,
       8

Docket Entry No. 25-1. See also TAC, Docket Entry No. 71, p. 11 &
n.1 (stating that citations to exhibits are to exhibits attached to
Hess's Second Amended Complaint).
       9
      Exhibit 1 - Tab 2 to Plaintiff's Second Amended Complaint,
Docket Entry No. 25-2.    See also Exhibit A to the Commercial
Agreement, Exhibit 1      Tab 1 to Plaintiff's Second Amended
Complaint, Docket Entry No. 25-1, p. 13 ("The document titled GoM
Tubular Bells & Llano 4 SCSSV Requirements Rev. 5 (seventeen [17)
pages) is attached hereto and made a part hereof.").
      Exhibit 1 - Tab 4 to Plaintiff's Second Amended Complaint,
       10

Docket Entry No. 25-4.    See also Exhibit J to the Commercial
                                                  (continued...)
                                       -8-
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American              Petroleum   Institute    Specification   14A   ( "API   14A")

incorporated into the Commercial Agreement at Exhibit J; 11 the
Master Service Contract 7525 ("MSC") entered into by the parties in
February of 2000 incorporated into the Commercial Agreement at
1 2;   12
              Hess Drawings and Specifications incorporated into the

Commercial Agreement at Exhibit K, p. 78; 13 and project Purchase
Orders and Field Tickets incorporated into the Commercial Agreement

at   1 2(a) of the MSC.14


       1  continued)
           0 ( ••
                  •

Agreement, Exhibit 1   Tab 1 to Plaintiff's Second Amended
Complaint, Docket Entry No. 25-1, p. 76 1 2.4 ("Quality
Assurance").
     11 Exhibit 1 - Tab 5 to Plaintiff's Second Amended Complaint,

Docket Entry No. 25-5. See also Exhibit J to the Commercial
Agreement, Exhibit 1       Tab 1 to Plaintiff's Second Amended
Complaint, Docket Entry No. 25-1, pp. 76-77 1 2.10.
      Exhibit 1 - Tab 3 to Plaintiff's Second Amended Complaint,
       12

Docket Entry No. 25-3. See also Commercial Agreement, p. 1 1 2,
Exhibit 1 - Tab 1 to Plaintiff's Second Amended Complaint, Docket
Entry No. 25-1, p. 5 ("The Parties and their Affiliates entered
into Master Service [Contract] No. 7525 dated effective as of
February 6, 2000 (the 'MS[C] ').     The Parties agree that this
Agreement is made subject to and in accordance with all the terms
and conditions of the MS[C] (as such MS[C] may have been and may be
amended), and that the terms and conditions of the MS[C] are hereby
incorporated by reference and made part of the Agreement. . . .").
      Exhibit 1 - Tab 6 to Plaintiff's Second Amended Complaint,
       13
Docket Entry No. 25-6.     See also Exhibit K - Drawings and
Specifications to the Commercial Agreement, p. 78, Exhibit 1 -
Tab 1 to Plaintiff's Second Amended Complaint, Docket Entry
No. 25-1, p. 82.
      Exhibit 1 - Tab 7 (Purchase Orders) and Tab 8 (Field Tickets)
       14
to Plaintiff's Second Amended Complaint, Docket Entry Nos. 25-7 and
25-8. See also MSC, p. 1 1 2(a), Exhibit 1 - Tab 3 to Plaintiff's
Second Amended Complaint, Docket Entry No. 25-3, p. 3 1 2(a).
                                              -9-
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      The SSVs were installed in April of 2014 in Well D, June of

2014 and February of 2016 in Well B, and April of 2015 in Well C. 15

Production on Well B began on December 14, 2014, and ceased on

January      29,     2016,    due   to   valve   failure. 16        A    Schlumberger

replacement valve installed in Well B allowed production to resume

on June 13, 2016, but in March of 2018 production ceased again due

to the replacement valve's failure. 17             Production on Well D began

on January 14, 2015, and ceased on August 10, 2015, due to valve

failure. 18    Production on Well C began on July 21, 2015, and ceased

due to valve failure on July 28, 2016. 19

      Hess         reported    each      valve   failure       to       Schlumberger.

Schlumberger investigated the failures and concluded that they

were primarily caused by the quality of the Metal Spring Energized

("MSE") seals.         On April 29, 2016, Schlumberger issued a report

stating that it had identified an issue with the seals and had

engaged in a recall of all SSVs manufactured from 2012 to 2015. 20


      15
           TAC, Docket Entry No. 71, p. 15 ,, 41-43.
      16
           Id. at 16 , 45.
      17
           Id. at 17 ,, 53-54.
      18
           Id. 15-16 , 44.
      Id. at 16, , 46.
      19
                         See also Expert Report of Barry Pulliam
("Pulliam Report"), ,, 15-17, Exhibit 7 to STC's MSJ, Docket Entry
No. 116-7, ,, 15-17.
      Schlumberger Field Return Analysis Report Rev. 7, dated
      20

April 29, 2016, pp. 28-29 of 55, Exhibit 3 to Plaintiff's Second
Amended Complaint, Docket Entry No. 25-10, pp. 29-30.
                                         -10-
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       On May 17, 2016, Hess notified Schlumberger that it revoked

acceptance of the SSVs used in Wells D and B pursuant to§ 2.608 of
the Texas Business         &    Commerce Code.21       On July 29, 2016, Hess
notified Schlumberger that it revoked acceptance of the SSV used in
Well C on the same basis.22
       On November 18, 2016, Hess filed this action alleging breach
of contract under Texas Business and Commerce Code§ 2.608 seeking
"the        cost   of   cover    for   each       valve,   incidental   damages,
consequential damages, attorney's fees and expenses, costs of suit,
pre- and post-judgment interest at the maximum legal rate, and all
such other and further relief, equitable and legal, to which Hess
justly is entitled." 23         After Hess filed this action, the parties
entered a Bridging Agreement that excepts "Disputed Claims," but
otherwise amends the MSC "for contracts between the Parties entered
into before, on or after" the effective date of January 1, 2017.24


      TAC, Docket Entry No. 71, p. 27, 81. See also Hess's MPSJ,
       21

p. 5, Docket Entry No. 118, p. 12, and Notice of Revocation Under
Section 2.608 of Tex. Bus. & Com. Code, dated May 17, 2016,
Exhibit 16 to Hess's MPSJ, Docket Entry No. 118-17.
      TAC, Docket Entry No. 71, p. 27, 82. See also Hess's MPSJ,
       22

p. 5, Docket Entry No. 118, p. 12, and Notice of Revocation Under
Section 2.608 of Tex. Bus. & Com. Code, dated July 29, 2016,
Exhibit 17 to Hess's MPSJ, Docket Entry No. 118-18. Hess revoked
acceptance of the replacement valve used in Well B on March 23,
2018, on the same basis. See TAC, Docket Entry No. 71, p. 27, 84.
See also Hess's MPSJ, p. 5, Docket Entry No. 118, p. 12, and Notice
of Revocation Under Section 2.608 of Tex. Bus. & Com. Code, dated
March 23, 2018, Exhibit 18 to Hess's MPSJ, Docket Entry No. 118-19.
       2
        3   See Plaintiff's Original Complaint, Docket Entry No. 1,
p. 10.
      Bridging Agreement, Exhibit
       24
                                              4    to STC's MSJ, Docket Entry
No. 116-4, p. 2, l.a.
                                       -11-
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     On December 8, 2016,         Schlumberger moved to dismiss Hess's

Original Complaint because the SSVs complied with the contract's
time-limited warranties.25        On January 27, 2017, the court entered
a Memorandum Opinion and Order directing Hess to file an amended
complaint identifying specific contractual obligations the SSVs
failed to meet. 26
     On February 15, 2017, Hess filed Plaintiff's First Amended

Complaint, 27 and on March       1, 2017, Schlumberger filed Defendant's
Motion to Dismiss First Amended Complaint under Rule 12 (b) (6).28
At the initial pretrial and scheduling conference held on March 3,
2017, the court ordered Hess to amend its complaint again, ordered
Schlumberger to file an amended motion to dismiss, and directed the
parties to identify legal criteria for distinguishing claims for
breach of contract from claims for breach of warranty.29
     On March 17,      2017,   Hess filed Plaintiff's Second Amended
Complaint asserting claims for breach of contract under Texas
common law and Texas Business and Commerce Code           §   2.608.30   Hess


      Defendant's Motion to Dismiss Under Rule 12 (b) (6), Docket
     25

Entry No. 8.
     26
          Memorandum Opinion and Order, Docket Entry No. 13.
      Plaintiff's First Amended Complaint, Docket Entry No. 15,
     27

pp. 17-19 11 63-73 (breach of contract pursuant to Texas Business
and Commerce Code 1 2.608), and 11 74-77 (breach of contract).
     28
          Docket Entry No. 18.
      Transcript of Hearing on Scheduling Conference Before the
     29

Honorable Sim Lake, Docket Entry No. 22.
      Plaintiff's Second Amended Complaint, Docket Entry No. 25,
     30

pp. 28-30 11 87-98 (breach of contract pursuant to Texas Business
                                                   (continued...)
                                     -12-
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alleged that the SSVs containing the defective MSE seals were

non-conforming goods and that the non-conformities substantially

impaired the value of the SSVs to Hess.        Hess reasserted the prayer
for relief from its Original Complaint seeking the cost of cover,
incidental damages,       consequential damages,    attorney's fees and
expenses, costs of suit, pre- and post-judgment interest, and all

other relief,       equitable and legal,       to which    Hess is       justly
entitled.31
      Citing disclaimers contained in the parties' contract, and
arguing that each of the installed SSVs functioned for a period of
at least one year, Schlumberger moved to dismiss Plaintiff's Second
Amended Complaint pursuant to Rule 12(b)(6). 32           On June 29, 2017,
the court entered a Memorandum Opinion and Order granting in part
and   denying     in   part   Schlumberger's   motion     to   dismiss    upon
concluding that the two breach of contract claims asserted in
Hess's Second Amended Complaint were indistinguishable and that
Chapter 2 of the Texas Business and Commerce Code provides the
applicable law.33      The court also concluded that Hess had alleged
enough facts to support a viable revocation claim because



       ( ••• continued)
      30

and Commerce Code � 2. 608), and pp. 30-31 �� 99-103 (breach of
contract)
      31
           Id. at 31 ( Prayer for Relief).
      Defendant's Motion to Dismiss Second Amended Complaint Under
      32

Rule 12(b)(6), Docket Entry No. 29.
      Memorandum Opinion and Order, Docket Entry No. 4 O, p. 6 n.2 O.
      33

See also Hess Corp. v. Schlumberger Technology Corp., Civil Action
No. H-16-3415, 2017 WL 2829697 (S.D. Tex. June 29, 2017).
                                    -13-
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     Schlumberger's argument is, in essence, that the SSVs
     were conforming. But that is for the trier of fact to
     determine. Hess may proceed with its claims based on the
     alleged non-conformity of the SSVs at the time of
     delivery. Hess may not proceed with its claims based on
     the failure of the SSVs to function after the warranty
     period had expired. 34

     On July 13, 2017, Schlumberger filed Schlumberger Technology

Corporation's Answer,          Affirmative Defenses and Counterclaim to

Hess's Second Amended Complaint. 35           Among the affirmative defenses

that Schlumberger asserts is an affirmative defense of release

alleging that the MSC released Schlumberger                "from all claims

brought by any party for any and all                 'damage to or loss of

property' .     [MSC] § 13. " 36 Schlumberger also asserts a counterclaim

for indemnity seeking to recover from Hess any judgment that Hess

receives     from      Schlumberger    on   Hess's   affirmative   claim     plus

attorney's fees and costs. 37

     On May 9, 2018, Hess filed the TAC asserting claims for breach

of contract pursuant to Texas common law and Texas Business and

Commerce Code § 2.608. 38        Hess alleges that the SSVs containing the

defective     MSE      seals   were   non-conforming    goods   and   that    the



      Memorandum Opinion and Order, Docket Entry No. 40, p. 17.
     34

See also Hess, 2017 WL 2829697, *7.
     35
          Docket Entry No. 43.
     36
          Id. at 18.
     37
          Id. at 18-21.
      TAC, Docket Entry No. 71, pp. 29-31 ,, 92-104 (breach of
     38

contract pursuant to Texas Business and Commerce Code, 2.608), and
pp. 31-32 ,, 105-109 (breach of contract)
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non-conformities substantially impaired the value of the SSVs to
Hess.      Hess alleges that it      "incurred substantial expense to
retrieve and replace the non-conforming valves and restore the
wells to production,         and lost profits from deferred and lost
production."39     Hess also alleges:
        Schlumberger's failure to perform its manufacturing and
        inspections according to the applicable contractual
        specifications and standards has resulted in significant
        damages to Hess, including but not limited to costs
        associated with retrieval and replacement of the failed
        Schlumberger Safety Valves and restoration of the wells,
        and lost profits from deferred and lost production.40
Hess reasserts the prayer for relief from its Original Complaint
seeking the cost of cover for each valve,            incidental damages,
consequential damages, attorney's fees and expenses, costs of suit,
pre- and post-judgment interest, and all other relief, equitable
and legal, to which Hess is justly entitled.41
        On April 8, 2019, the parties submitted a Joint Status Report
Concerning Trial (Docket Entry No. 114), stating:           "[T]he parties
have agreed to try this case to the bench rather than a jury."


                        III.    Standard of Review

        Summary judgment is authorized if the movant establishes that
there is no genuine dispute about any material fact and the law
entitles it to judgment.         Fed. R. Civ. P.     56.   Disputes about


        39Id. at 31 1 103.
        40Id. at 32 1 109.
        41Id. at 32.
                                    -15-
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material facts are      "genuine"    if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.
Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2511 (1986).              A
"party moving for summary judgment must 'demonstrate the absence of
a genuine issue of material fact,' but need not negate the elements
of the nonmovant's case."        Little v. Liquid Air Corp., 37 F.3d

1069, 1075 (5th Cir. 1994) (en bane) (per curiam) (quoting Celotex
Corp. v. Catrett, 106 S. Ct. 2548, 2553 (1986)).            "If the moving

party fails to meet this initial burden, the motion must be denied,
regardless of the nonmovant's response."                 If, however, the
moving party meets this burden, Rule 56 requires the nonmovant to
go beyond the pleadings and show by admissible evidence that
specific facts exist over which there is a genuine issue for trial.
Id.   "[T]he court must draw all reasonable inferences in favor of
the nonmoving party, and it may not make credibility determinations
or weigh the evidence."        Reeves v. Sanderson Plumbing Products,

Inc., 120 S. Ct. 2097, 2110 (2000).          Factual controversies are to

be resolved in favor of the nonmovant, "but only when there is an
actual controversy, that is, when both parties have submitted
evidence of contradictory facts."          Little, 37 F.3d at 1075.
      "When   parties   file   cross-motions      for   summary   judgment,
[courts] review 'each party's motion independently, viewing the
evidence and inferences in          the    light most   favorable   to the
nonmoving party."'      Cooley v. Housing Authority of the City of
Slidell, 747 F.3d 295, 298 (5th Cir. 2014) (quoting Ford Motor Co.

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v. Texas Department of Transportation, 264 F.3d 493, 498 (5th Cir.

2001)).   See also Shaw Constructors v. ICF Kaiser Engineers, Inc.,

395 F.3d 533, 538-39 (5th Cir. 2004), cert. denied sub nom. PCS

Nitrogen Fertilizer, L.P. v. Shaw Constructors, Inc., 126 S. Ct.

342 (2005) ("Cross-motions must be considered separately, as each

movant bears the burden of establishing that no genuine issue of

material fact exists and that it is entitled to judgment as a

matter of law.").


                          IV.   Applicable Law

     Hess asserts claims for breach of contract pursuant to Texas

common law and Texas Business and Commerce Code            §   2.608.42     The

court has already held that the two breach of contract claims Hess

asserts are indistinguishable and that Chapter 2 of the Texas

Business and Commerce Code provides the applicable law.43                 Under

Texas law "[i]f the written instrument is so worded that it can be

given a certain or definite legal meaning or interpretation, then

it is not ambiguous and the court will construe the contract as a

matter of law."     Coker, 650 S.W.2d at 393.         The parties do not

dispute that Texas law applies to the contract, and neither party

argues that any part of their contract is ambiguous.


      TAC, Docket Entry No. 71, pp. 29-31 11 92-104 (breach of
     42

contract pursuant to Texas Business and Commerce Code 1 2.608), and
pp. 31-32 11 105-109 (breach of contract).
      Memorandum Opinion and Order, Docket Entry No. 4 O, p. 6 n.2 O.
     43

See also Hess, 2017 WL 2829697, *3 n.20.
                                   -17-
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     Section       2.608   of       the   Texas    Business   and   Commerce   Code

describes the conditions necessary for revocation:
     (a) The buyer may revoke his acceptance of a lot or
     commercial unit whose non-conformity substantially
     impairs its value to him if he has accepted it .


             (2) without discovery of such non-conformity if his
             acceptance was reasonably induced either by the
             difficulty of discovery before acceptance or by the
             seller's assurances.
     (b) Revocation of acceptance must occur within a
     reasonable time after the buyer discovers or should have
     discovered the ground for it and before any substantial
     change in condition of the goods which is not caused by
     their own defects. It is not effective until the buyer
     notifies the seller of it.
     (c) A buyer who so revokes has the same rights and
     duties with regard to the goods involved as if he had
     rejected them.
Tex. Bus.    &   Com. Code § 2.608.        A seller delivers conforming goods
when the goods "are in accordance with the obligations under the
contract."        Tex. Bus.     &    Com. Code § 2.106 (b).         Non-conformity
includes any failure of the seller to perform according to his
obligations under the contract, including breaches of warranties.
See Tex. Bus.      &   Com. Code § 2.714, Comment 2.          Breach of warranty
is a subset of non-conformity.                    See Ford Motor Credit Co. v.
Harper, 671 F.2d 1117, 1122 (8th Cir. 1982)
     A claim for "revocation seeks to put the buyer in the same
position as if he had rejected the goods at the time of delivery."
Neal v. SMC Corp., 99 S.W.3d 813, 816 (Tex. App. - Dallas 2003, no
pet.). See also A.O. Smith Corp. v. Elbi S.P.A., 123 F. App'x 617,

                                          -18-
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619 (5th Cir. 2005) (per curiam) ("[B]reach of contract damages are

not available when a buyer accepts non-conforming goods.                  In that
instance, breach of warranty is the remedy . . . Breach of contract

remedies are available,       however,             to a buyer who,   inter alia,

properly revokes acceptance.") (citing Selectouch Corp. v. Perfect
Starch, Inc., 111 S.W.3d 830,              834     (Tex. App.   Dallas 2003, no
pet.) ("A buyer who .          justifiably revokes his acceptance may
recover breach of contract remedies for delivery of non-conforming
goods under section 2.711.        •   ti   ) ) •

        The remedies for breach of contract for a sale of goods are
set forth in Tex. Bus. & Com. Code§§                  2.711-2.715.   In pertinent

part§    2.711 governing "Buyer's Remedies in General" provides:
     (a) Where the seller fails to make delivery or
     repudiates or the buyer rightfully rejects or justifiably
     revokes acceptance then with respect to any goods
     involved, and with respect to the whole if the breach
     goes to the whole contract (Section 2.612), the buyer may
     cancel and whether or not he has done so may in addition
     to recovering so much of the price as has been paid
            (1) "cover" and have damages under the next
            section as to all the goods affected whether or not
            they have been identified to the contract; or
            (2) recover damages for non-delivery as provided
            in this chapter (Section 2.713).
Tex. Bus.   &   Com. Code§   2.711.
     Section 2.712 governing "Cover" provides:
     (a) After a breach within the preceding section the
     buyer may "cover" by making in good faith and without
     unreasonable delay any reasonable purchase of or contract
     to purchase goods in substitution for those due from the
     seller.

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     (b) The buyer may recover from the seller as damages the
     difference between the cost of cover and the contract
     price together with any incidental or consequential
     damages as hereinafter defined (Section 2.715), but less
     expenses saved in consequence of the seller's breach.
Tex. Bus. & Com. Code § 2.712.
     Section 2.713 governing "Buyer's Damages for Non-Delivery or

Repudiation" provides:
     (a) Subject to the provisions of this chapter with
     respect to proof of market price (Section 2.723), the
     measure of damages for non-delivery or repudiation by the
     seller is the difference between the market price at the
     time when the buyer learned of the breach and the
     contract price together with any incidental and
     consequential damages provided in this chapter (Section
     2.715), but less expenses saved in consequence of the
     seller's breach.

     (b) Market price is to be determined as of the place for
     tender or, in cases of rejection after arrival or
     revocation of acceptance, as of the place of arrival.
Tex. Bus. & Com. Code § 2.713.
     Section 2.715 governing "Buyer's Incidental and Consequential

Damages" provides:
     (a) Incidental damages resulting from the seller's
     breach   include   expenses    reasonably   incurred   in
     inspection, receipt, transportation and care and custody
     of goods rightfully rejected, any commercially reasonable
     charges, expenses or commissions in connection with
     effecting cover and any other reasonable expense incident
     to the delay or other breach.
     (b) Consequential damages resulting from the seller's
     breach include
           (1) any loss resulting from general or particular
           requirements and needs of which the seller at the
           time of contracting had reason to know and which
           could not reasonably be prevented by cover or
           otherwise; and

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              (2) injury to person or property proximately
              resulting from any breach of warranty.
Tex. Bus.     &    Com. Code§ 2.715.    The effect of these provisions may
be altered by agreement of the contracting parties.             Tex. Bus. &
Com. Code§ 1.302(a) ("Except as otherwise provided .            . elsewhere
in this title, the effect of provisions of this title may be varied
by agreement.").


              V.    Schlwnberger's Motion for Summary Judgment

      Schlumberger argues that it is entitled to summary judgment on
Hess's breach of contract claims as to all four of the failed
valves because (1) Hess expressly disclaimed its right to challenge
non-conformities after a year, (2) Hess released Schlumberger from
all of the claims asserted in this action, and (3) the contract was
not   breached        because   it   prescribes   processes,   not   product
specifications.44          Alternatively, Schlumberger argues that it is
entitled to judgment on the Well B(2) valve claims pursuant to the
January 1,         2017,   Bridging Agreement45 and on Hess's claims for
workover costs and any lost-opportunity costs because Hess provides
no evidence using the proper measure of damages.46




      44 STC's     MSJ, pp. 11-20, Docket Entry No. 116, pp. 17-26.
      45
           Id. at 20-22, Docket Entry No. 116, pp. 26-28.
      46
           Id. at 22-25, Docket Entry No. 116, pp. 28-31.
                                       -21-
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A.      Schlumberger is Not Entitled to Swnmary Judgment on Hess's
        Breach of Contract Claims as to the Four Valves

        1.      Hess Did Not Expressly Disclaim the Right to Challenge
                the Alleged Non-Conformities After a Year

        Citing the one-year warranty provision contained in the MSC,

and asserting that the MSC disclaims all "OTHER WARRANT [IES]"

except those "EXPRESSLY STATED HEREIN," 47 Schlumberger argues that

it is entitled to summary judgment on all of Hess's claims because

Hess expressly disclaimed its right to challenge non-conformities

after a year. 48         Hess argues in response that Schlumberger's

warranty argument "is essentially a two-year old cut-and-paste job

that the Court already said would be disallowed," 49 and that "[t]hat

alone is reason to deny Schlumberger's motion. " 50            Alternatively,

Hess argues that

        [o]n the merits, Schlumberger's argument has lost even
        further ground. Hess alleges that it properly revoked
        acceptance and therefore never       finally  accepted
        Schlumberger's tender of safety valves that failed to
        conform at delivery to the independent contractual
        obligations contained in the Commercial Agreement.
        Schlumberger' s own documents repeatedly confirm this
        allegation as true.  Because Hess has properly revoked
        acceptance, its claim sounds in contract and not
        warranty. 51



        47
             Id. at 13, Docket Entry No. 116, p. 19.
        48
             Id. at 11, Docket Entry No. 116, p. 17.
       Hess Corporation's Response in Opposition to Schlumberger
        49

Technology Corporation's Motion for Summary Judgment ("Hess's
Response in Opposition to STC's MSJ"), p. 9, Docket Entry No. 127,
p. 17.




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Quoting Neal, 99 S. W. 3d at 816, Hess argues that "[u]nder Texas

law, Hess must be put 'in the same position as if [it] had rejected
the goods at the time of delivery.'" 52

              (a)   The Court's Prior Ruling Does Not Foreclose Any
                    Aspect of Schlumberger's MSJ
     Schlumberger argues that it is entitled to summary judgment on
Hess's claims because the non-conformities for which Hess seeks
relief are violations of express warranties and as such are subject
to the MSC's one-year warranty provision.          Although Schlumberger
raised similar arguments in a previously denied motion to dismiss,
see Hess, 2017 WL 2829697, at *6-*7, the court's prior ruling does
not foreclose any aspect of Schlumberger's present motion for
summary judgment.        The court's prior ruling accepted Hess's
allegations as true, viewed them in the light most favorable to
Hess, and analyzed the facts alleged in Hess's complaint against
the elements of a claim for revocation under Tex. Bus. & Com. Code
§ 2.608.      Recognizing that "[t]he question before the court on a
motion to dismiss is whether Hess has plausibly alleged that
Schlumberger's SSVs were non-conforming at the time of delivery,"
id. at *6, the court concluded that "Hess's claim is plausible"
because Hess alleged that Schlumberger's failure to fulfill its
contractual obligations resulted in delivery of non-conforming
SSVs, and that "Schlumberger's contractual obligation to deliver


     52
          Id. at 10, Docket Entry No. 12 7, p. 18.
                                   -23-
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[conforming, i.e.,] parts .              is not time limited."     Id. at *7.
The court's prior ruling does not foreclose any aspect of STC's MSJ
because that ruling was based on the Plaintiff's Second Amended
Complaint, which has been superseded by the TAC, and was entered
before the court had considered the summary judgment evidence.


                (b)   Whether Hess's Revocation Claims Are Time-Barred is
                      a Fact Issue for Trial
       Hess     alleges     that   it   justifiably   revoked    its   initial
acceptance of the four SSVs under Texas Business and Commerce Code
§   2.608 because the SSVs "failed to conform at delivery to the
independent contractual obligations contained in the Commercial
Agreement." 53        The elements of a revocation claim are:
       (1) initial acceptance (.     . without discovery of the
       non-conforming item if acceptance was induced by
       difficulty of discovery or by seller's assurance); (2) of
       non-conforming    item;     (3)    such    non-conformity
       substantially impairs the value to the buyer; (4) and
       revocation occurs within a reasonable time; (5) in any
       event, the revocation must occur before a substantial
       change in the condition of the goods occurs (which change
       is not caused by defect of the goods).
Neily v. Aaron, 724 S.W.2d 908, 913-14 (Tex. App. - Fort Worth
1987, no writ).         "The determination of each of these elements is a
question of fact."          Id. at 914 (citing Vista Chevrolet v. Lewis,

704 S.W.2d 363, 368 (Tex. App. - Corpus Christi 1985), rev'd on
other grounds, 709 S.W.2d 176 (Tex. 1986)).
       Distinguishing the argument now being made in its MSJ from the
argument advanced in its previous motion to dismiss, Schlumberger


       53
            Id. at 9, Docket Entry No. 127, p. 17.
                                        -24-
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argues that      "this Court thus far has construed only the MSC

warranty's     performance   language     and   has   not   construed       the

nonconformity provision in the warranty." 54          Asserting that the
MSC's warranty provision governs both performance and conformity,
Schlumberger argues
     Hess suggests that this Court has already ruled on the
     warranty argument Schlumberger asserts in Section I.A of
     its summary judgment motion, but Hess is mistaken.
     Tellingly, Hess does not dispute that this Court thus far
     has construed only the MSC warranty's performance
     language and has not construed the nonconformity
     provision in the warranty. At the pleading stage, the
     Court dismissed Hess's "allegations [that] involve the
     failure of the [valves] to perform as expected."      ECF
     No. 4 O at 16.   "[A] s the disclaimers in the MSC make
     clear," the Court held, "Schlumberger did not warrant
     that the valves would do so indefinitely. Schlumberger
     explicitly warranted performance            for one year
     only." Id. Hess pressed the Court to construe only this
     part of the warranty, stating - incorrectly - that "[t]he
     MSC's warranty provision does not mention Schlumberger's
     specifications." ECF No. 34 at 29. Today, however, Hess
     does not dispute that the warranty does just that,
     promising that the valves would "be free from defects in
     design, materials, fabrication and other workmanship" and
     conform to [the] specifications, drawings or other
     descriptions contained in the applicable service
     agreement, purchase order, work order or other project
     document." . . . (emphasis added) . Hess does not dispute
     that it did not raise the alleged nonconformities within
     one year. That resolves all of Hess's claims.55
Citing Gasmark, Ltd. v. Kimball Energy Corp., 868 S.W.2d 925, 928
(Tex. App. - Fort Worth 1994, no writ), for its statement that "the
effect of the UCC may be varied by agreement," Schlumberger argues


      Defendant Schlumberger Technology Corporation's Reply in
     54

Support of Its Motion for Summary Judgment ( "STC's Reply in Support
of MSJ"), p. 3, Docket Entry No. 144, p. 10.
     55
          Id. (emphasis added).
                                   -25-
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"[t] hat is exactly what the parties' contract does here.                Hess
agreed not to bring nonconformity claims after a year, and promised
that there were 'NO OTHER WARRANT[IES] . 1156 Schlumberger's argument
that Hess's revocation claims are precluded by the MSC warranty
provision's     one-year   limitation      challenges   Hess's   ability     to
establish element (4) of its revocations claims, �, that the

revocation occurred within a reasonable time. 57
     Hess argues that the SSVs "failed to conform at delivery to
the independent contractual obligations contained in the Commercial
Agreement, 1158 specifically, that the SSVs would be manufactured,
tested, and monogrammed to the latest edition of API 14A, and would
conform to Hess's and Schlumberger's specifications and to industry
standards.59 Schlumberger's contractual obligation to provide Hess
with SSVs that would be manufactured, tested, and monogrammed to
the latest edition of API 14A, and would comply to Hess's and
Schlumberger's     specifications    and    to   industry   standards,      are
express warranties because they are affirmations of fact, promises,
and/or descriptions related to the SSVs that became part of the
basis of the parties' bargain.       See Tex. Bus. & Com. Code § 2.313


     56
          Id. at 4, Docket Entry No. 144, p. 11.
      Hess has not moved for summary judgment on this or any other
     57

element of its revocation claims.
      Hess's Response in Opposition to STC's MSJ, p. 9, Docket
     58

Entry No. 127, p. 17.
     59
          TAC, Docket Entry No. 71, pp. 21-27 11 66-80.
                                    -26-
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and Comment 5. 60 The concept of non-conformity includes any failure

of the seller to perform according to his obligations under the
contract, including breaches of warranties. See Texas Business and
Commerce Code§ 2.714, Comment 2. See also          Ford, 671 F.2d at 1122
(recognizing breach of warranty as a subset of non-conformity).

     Section 2.316 (d) of the Texas Business and Commerce Code
states that "[r]emedies for breach of warranty can be limited in
accordance with the provisions of this chapter on liquidation or



      Section 2.313 to the Texas Business and Commerce Code governs
     60

express warranties and states in pertinent part:
     (a)   Express warranties by the seller are created as
           follows:
           (1)   Any affirmation of fact or promise made by the
                 seller to the buyer which relates to the goods
                 and becomes part of the basis of the bargain
                 creates an express warranty that the goods
                 shall conform to the affirmation or promise.
           (2)   Any description of the goods which is made
                 part of the basis of the bargain creates an
                 express warranty that the goods shall conform
                 to the description.
           (3)   Any sample or model which is made part of the
                 basis of the bargain creates an express
                 warranty that the whole of the goods shall
                 conform to the sample or model.
     (b)   It is not necessary to the creation of an express
           warranty that the seller use formal words such as
           "warrant" or "guarantee" or that he have a specific
           intention to make a warranty,
Comment 5 to this section recognizes that "[a] description need not
be by words. Technical specifications, blueprints and the like can
afford more exact description than mere language and if made part
of the basis of the bargain goods must conform with them."
                                   -27-
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limitation of damages and on contractual modification of remedy

(Section 2.718 and 2.719)."      Schlumberger's obligation to deliver
SSVs that conformed to express warranties is covered in the MSC's
warranty provision, which provides in pertinent part:
     Contractor warrants that all equipment, products,
     materials and other items furnished hereunder shall:
            (2) be free from defects in design, materials,
     fabrication and other workmanship; and (3) conform to
     AHC's   [Amerada Hess Corporation's]     specifications,
     drawings or other descriptions contained in the
     applicable service agreement, purchase order, work order
     or other project document. 61
The MSC's warranty provision also covers              "all work and other
services performed" by stating:
     Contractor warrants that all work and other services
     performed hereunder (whether by         Contractor,   its
     subcontractors or other parties for whom it is
     responsible) shall be free from all faults and defects
     and of a quality consistent with the prevailing standards
     of workmanship for experienced contractors with expertise
     in the particular type of work or service being
     performed. 62
The MSC's warranty provision limits Schlumberger's warranties to a
period of one year by stating:
     Contractor's foregoing warranties shall continue for a
     period of one (1) year after Contractor's delivery and/or
     installation (if performed by Contractor) of the
     equipment, product, materials or other item in question
     or performance of other applicable work or services, as
     the case may be.     63



The MSC's warranty provision expressly and conspicuously disclaims
all other express or implied warranties:

     61
          MSC,   Exhibit   1   Tab   3   to   Plaintiff's   Second   Amended
Complaint, Docket Entry No. 25-3, p. 3         §   2(a).
     62Id.




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   [SCHLUMBERGER] MAKES NO OTHER WARRANTY AS TO PRODUCTS,
   WORKMANSHIP OR MERCHANTABILITY, WHETHER EXPRESSED OR
   IMPLIED (INCLUDING, WITHOUT LIMITATION, THAT THE PRODUCTS
   OR SERVICES SHALL BE FIT FOR ANY PARTICULAR PURPOSE) ,
   EXCEPT AS EXPRESSLY STATED HEREIN OR IN AN EXPRESS
   AMENDMENT HERETO . 64


   64
        The full text of the warranty provision is as follows:

        (a) Upon Company notifying Contractor of the
   services, products, equipment, materials or other items
   desired, Contractor will commence furnishing same at the
   agreed upon time, and continue such operations diligently
   and without delay, in strict conformity with the
   specifications and requirements contained herein and in
   any applicable work order, purchase order, service
   agreement or other project document.

        Contractor warrants that all equipment, products,
   materials and other items furnished hereunder shall:
   (1) be new if specified by Company; (2) be free from
   defects in design, materials, fabrication and other
   workmanship; and (3) conform to AHC's specifications,
   drawings or other descriptions contained in the
   applicable service agreement, purchase order, work order
   or other project document. Contractor warrants that all
   work and other services performed hereunder (whether by
   Contractor, its subcontractors or other parties for whom
   it is responsible) shall be free from all faults and
   defects and of a quality consistent with the prevailing
   standards of workmanship for experienced contractors with
   expertise in the particular type of work or service being
   performed.    In the event of a breach of any of the
   foregoing warranties, Contractor shall, promptly after
   receipt of written notice thereof from Company and at
   Contractor's sole cost, repair or replace (as determined
   by Contractor) all applicable equipment, products,
   materials, work, services, and other items necessary to
   cure the breach of warranty, as confirmed by Company,
   whose approval shall not be unreasonably withheld.

        If Contractor does not promptly correct or replace
   such defective or non-conforming equipment, products,
   materials, work, services or other items in accordance
   with the foregoing warranties within a reasonable time,
   as specified in Company's written notice, Company may
   have the warranty deficiency or non-conformity corrected
                                                  (continued...)
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        Hess alleges that it "did not limit its rights of revocation

under[§] 2.608 in its agreements with Schlumberger[; t]hose rights
exist at law and are nowhere modified by any agreement with
Schlumberger. " 65      But Hess neither alleges in its live complaint,
nor argues in its summary judgment briefing that the MSC's warranty
provision is unenforceable or unreasonable under § 2.316 or any

other provision of the Texas Business and Commerce Code.
        Schlumberger argues that the MSC warranty provision represents

the parties' agreement to limit to one year the time that Hess had
to     challenge       non-conformity     with   the    contract's     express


        64 (
             continued)
             •••
       or replaced by another contractor, and all of Company's
       costs incurred in the performance and/or remedying of
       such defective work (including compensation for work and
       services performed and/or materials, products, equipment
       and other items furnished by other contractors) shall be
       charged against the Contractor pursuant to a deductive
       change order, to the extent that such additional costs
       incurred by Company to cure Contractor's breach do not
       exceed the applicable project price otherwise payable to
       Contractor.    Contractor's foregoing warranties shall
       continue for a period of one (1) year after Contractor's
       delivery and/or installation (if performed by Contractor)
       of the equipment, product, materials or other item in
       question or performance of other applicable work or
       services, as the case may be; provided that with regard
       to all replacement, repair or other corrective work
       pursuant to a breach of warranty, Contractor's warranty
       shall continue for an additional year after completion of
       same . CONTRACTOR MAKES NO OTHER WARRANTY AS TO PRODUCTS,
       WORKMANSHIP OR MERCHANTABILITY, WHETHER EXPRESSED OR
       IMPLIED (INCLUDING, WITHOUT LIMITATION, THAT THE PRODUCTS
       OR SERVICES SHALL BE FIT FOR ANY PARTICULAR PURPOSE),
       EXCEPT AS EXPRESSLY STATED HEREIN OR IN AN EXPRESS
       AMENDMENT HERETO.


        65
             TAC, Docket Entry No. 71, p. 31 1 104.
                                        -30-
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 warranties.66      Schlumberger's argument - that the MSC warranty

provision's one-year limitation represents the time to which the
parties agreed non-conformities could be challenged - does not
preclude Hess from obtaining relief under § 2.608 merely because
Hess failed to revoke within the one-year period.

      Comment 4 to§ 2.608 provides:
      Subsection (2) requires notification of revocation of
      acceptance within a reasonable time after discovery of
      the grounds for such revocation. Since this remedy will
      be generally resorted to only after attempts at
      adjustment have failed, the reasonable time period should
      extend in most cases beyond the time in which
      notification of breach must be given, beyond the time for
      discovery of non-conformity after acceptance and beyond
      the time for rejection after tender. The parties may by
      their agreement limit the time for notification under
      this section,        (emphasis added)
Accepting       Schlumberger's   contention    that    the   MSC    warranty
provision's one-year limitation represents the time in which the
parties agreed non-conformity with an express warranty could be
challenged, pursuant to Comment 4 the "reasonable time period" that
§ 2.608 provides for revocation "should extend in most cases beyond
the time in which notification of breach must be given, [and/or]
beyond the time for discovery of non-conformity after acceptance."
Under the facts of this case that means that§ 2.608's "reasonable
time period" may extend beyond the MSC warranty provision's one­
year period. Although Comment 4 recognizes that "[t] he parties may
by their agreement limit the time for notification under this

      66
           STC's MSJ, p. 11, Docket Entry No. 116, p. 19.
                                    -31-
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section .        " id. , neither the MSC warranty provision nor any

other provision of the parties' contract expressly limits the time
for revocation under§ 2.608.       While Hess did disclaim the time to
challenge non-conformities to one year, Hess did not disclaim the
time to revoke under§ 2.608 to one year.             Accordingly, the court

concludes that Hess was only obligated to notify Schlumberger of
its revocation of the SSVs reasonably soon after the agreed-upon
one-year period expired.         Whether Hess can satisfy the fourth
element of its revocation claims for the four SSVs by establishing
that    its   revocations    occurred   within   a    reasonable   time     are
questions of fact for trial.       See Neily, 724 S.W.2d at 914 ("The
determination of each              element [ of a § 2.608 claim] is a
question of fact.").
       If, as Hess alleges, Hess justifiably revoked acceptance of
the SSVs, Hess would have the same rights as if it had rejected the
SSVs at the time of delivery, including the right to damages for
breach of contract. See Neal, 99 S.W.3d at 816 (citing Tex. Bus.              &

Com. Code § 2. 6 O 8)       See also A.O. Smith, 123 F. App'x at 619
("Breach of contract remedies are available               . to a buyer who
       . properly revokes acceptance.").         Whether Hess justifiably
revoked acceptance of the SSVs is a fact issue for trial that
precludes the court from granting Schlumberger's MSJ on Hess's
breach of contract claims for the four valves.           Neily, 724 S.W.2d
at 914.


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     2.    Schlumberger Is Entitled to Partial Summary Judgment
           Based on the MSC's Indemnity and Release Provisions
     Citing § 13(c) of the MSC, Schlumberger argues that it is
entitled to summary judgment because Hess released it from all
claims for property damage.      Schlumberger argues that
     [a]s is "customary practice" in the oil-and-gas industry,
     Hess and Schlumberger agreed to release and indemnify
     each other for property damage claims tied to work
     performed under the [MSC].        This "knock-for-knock"
     agreement requires each party to assume responsibility
     for damage to its property, regardless of who caused the
     damage. In the MSC's knock-for-knock provision, Hess
     "fully release[d]" Schlumberger as follows:
          [Hess]    shall    fully   release
          [Schlumberger]          from         all claims
          brought by        any party or person, for any
          and all . . . damage to or loss of property of
          [Hess]             whether real or personal
          (including, without limitation, production and
          drilling     equipment,    wellbore,    casing,
          subsurface reservoirs and any oil and gas or
          other hydrocarbon substances located therein)
          whenever and wherever occurring, arising
          directly or indirectly out of or in any way
          involving [Schlumberger's] work and other
          operations (including acts and omissions)
                without limit and regardless of cause or
          fault
     Ex. 1 at§ 13(c) (emphasis added; all-caps omitted).
         Under this broadly worded provision, Schlumberger is
    released "without limit" for "loss of property" "whether
    real or personal." . . . Though not defined in the MSC,
    real property includes "[l]and and anything growing on,
    attached to, or erected on it." Black's Law Dictionary
    (10th ed. 2014) (entry for "property").          Personal
    property is "[a]ny moveable or intangible thing that is
    subject to ownership and not classified as real property"
    (id.); it includes money (San Antonio Area Found. v.
    Lang, 35 S.W.3d 636, 640 (Tex. 2000)).



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          Hess's alleged damages all constitute "damage to or
     loss of property." Ex. 1 at§ 13(c)(1)(iii)     According
     to Hess's expert, Hess's damages fall into four
     categories:
          (1) costs "to purchase replacements for the failed
                [valves]";

             (2)    "costs for the retrieval and replacement of
                    the [valves] ";
             (3)    "reduced revenues associated with work on the
                    Gulfstar One facility"; and

             (4)    costs "due to methanol contamination."

     Ex. 7 at � 9. "Costs" and "reduced revenues" are of
     course lost money, which, again, is intangible property.
     At the same time, each category also involves lost
     tangible property. 67

Citing Energy XXI, GoM, LLC v. New Tech Engineering, L.P., 787

F. Supp. 2d 590 (S.D. Tex. 2011), and Valero Energy Corp. v. M.W.

Kellogg Construction Co.,        866 S.W. 2d 252 (Tex. App.           Corpus

Christi     1993,   writ   denied),    Schlumberger   argues   that   courts

regularly enforce such releases. 68

     Hess responds that Schlumberger is not entitled to summary

judgment because its claims do not allege "damage to or loss of"

Hess's property, and because it did not release Schlumberger from

its breach of contract claim. 69        Arguing that the MSC's indemnity

and release provisions do not apply to claims alleging breach of



      STC's MSJ, pp. 13-14, Docket Entry No. 116, pp. 19-20 (citing
     67

Exhibit 7, Pulliam Report, � 9, Docket Entry No. 116-7, � 9).
     68
          Id. at 15, Docket Entry No. 116, p. 21.
      Hess's Response in Opposition to STC's MSJ, pp. 10-14, Docket
     69

Entry No. 127, pp. 18-22.
                                      -34-
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the underlying contract, 70 Hess has moved for partial summary

judgment.71

     Section 13 of the MSC governs "Indemnities," and in pertinent

part provides:

     (c)     Company's Indemnity Obligations:

             1.   COMPANY SHALL FULLY RELEASE, DEFEND, INDEMNIFY
                  AND HOLD CONTRACTOR GROUP HARMLESS FROM AND
                  AGAINST ALL CLAIMS BROUGHT BY OR ON BEHALF OF
                  ANY PARTY OR PERSON, FOR ANY AND ALL:



                  (iii)   DAMAGE TO OR LOSS OF PROPERTY OF
                          COMPANY AND ITS EMPLOYEES, WHETHER
                          REAL OR PERSONAL (INCLUDING, WITHOUT
                          LIMITATION, PRODUCTION AND DRILLING
                          EQUIPMENT,        WELLBORE,      CASING,
                          SUBSURFACE RESERVOIRS AND ANY OIL AND
                          GAS OR OTHER HYDROCARBON SUBSTANCES
                          LOCATED THEREIN) WHENEVER AND WHEREVER
                          OCCURRING,      ARISING    DIRECTLY   OR
                          INDIRECTLY OUT OF OR IN ANY WAY
                          INVOLVING CONTRACTOR'S WORK
                          EQUIPMENT, TOOLS, MATERIALS, AND OTHER
                          ITEMS WHATSOEVER FURNISHED, DELIVERED,
                          STORED,   OR     OTHERWISE   HANDLED  BY
                          CONTRACTOR            WITHOUT LIMIT AND
                          REGARDLESS OF CAUSE OR FAULT, AS
                          PARTICULARLY DESCRIBED IN SECTION
                          13(b) ABOVE. 72

Section 13(c) is informed by§ 13(b), which provides:

     IT IS THE SPECIFIC AND EXPRESSED INTENT AND AGREEMENT OF
     THE COMPANY AND THE CONTRACTOR THAT ALL RELEASE, DEFENSE,


      Id. at 10, Docket Entry No. 127 at 18. See also id. at n.5
     70

(stating "Hess previously raised the Texas Oilfield Anti-Indemnity
Act as a defense.     ECF No. 75, at 3.      Under Hess's current
understanding of Schlumberger's indemnity counterclaim, Hess
withdraws this defense.").
     71   See Hess's MPSJ, Docket Entry No. 118, and§ VI, herein.
     72   MSC, § 13, Docket Entry No. 25-3, pp. 7-8.
                                   -35-
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       HOLD HARMLESS AND INDEMNITY OBLIGATIONS AND OTHER
       LIABILITIES   ASSUMED    BY   COMPANY    AND   CONTRACTOR
       RESPECTIVELY UNDER SECTIONS 13(c) AND (d) SHALL BE
       WITHOUT REGARD TO THE NEGLIGENCE (WHETHER SOLE, JOINT, OR
       CONCURRENT, ACTIVE OR PASSIVE), BREACH OF WARRANTY,
       STRICT LIABILITY, PREMISES LIABILITY, DEFECTIVE CONDITION
       (WHETHER PRE-EXISTING OR OTHERWISE) OF ANY FACILITIES,
       EQUIPMENT, MATERIALS, TOOLS, OR OTHER ITEM WHATSOEVER
           . OR ANY OTHER FAULT OF THE INDEMNIFIED PARTIES OR
       ANY OTHER PARTY EXCEPTING ONLY THE GROSS NEGLIGENCE,
       RECKLESSNESS OR WILLFUL MISCONDUCT OF COMPANY GROUP OR
       CONTRACTOR GROUP.73

        "Under Texas law a release is a contract."                Williams v. Glash,

789 S.W.2d 261, 264 (Tex. 1990). The court's primary concern is to

ascertain the true intentions of the parties as expressed in the

instrument.          Coker,   650 S.W.2d at 393.            "The language in an

agreement is to be given its plain grammatical meaning unless to do

so would defeat the parties' intent."                     DeWitt County Electric

Cooperative,         Inc.   v.   Parks,    1     S.W.3d   96,   101    (Tex.   1999).

Undefined terms in a contract are given their commonly understood

or    generally      accepted     meanings.        See    Lamar    Homes,    Inc.    v.

Mid-Continent Casualty Co., 242 S.W.3d 1, 8 (Tex. 2007).


               (a)    Replacement Valve Cost Is Not "Damage To or Loss
                      of" Hess's Property

       If Hess       justifiably    revoked       acceptance      of   the   SSVs,   by

operation of law title revested in the seller, Schlumberger, Tex.

Bus. & Com. Code § 2.401(d), 74 and Hess would have the same rights

       73
            Id. at 7.
      Section 2.401(d) of the Texas Business and Commerce Code
       74

states in pertinent part: "[A] justified revocation of acceptance
revests title to the goods in the seller. Such revesting occurs by
operation of law and is not a 'sale'."
                                          -36-
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and duties with regard to the SSVs as if it had rejected them.

Tex. Bus. & Corn. Code§ 2.608(c).            See also Neal, 99 S.W.3d at 816
("[R)evocation seeks to put the buyer in the same position as if he
had rejected the goods at the time of delivery.                       Revocation
cancels a contract of sale and returns the goods to the seller and

the purchase price to the buyer.               It places the parties in the
same position as before the sale."); Delhomme Industries. Inc. v.
Houston Beechcraft,       Inc.,   735 F.2d 177,        181 (5th Cir.       1984)
("Revocation of acceptance by a buyer under the UCC is necessarily
a recognition by        the   buyer   that     the   property   [as    to which
acceptance is revoked] belongs to the seller.") (internal quotation
marks and citation omitted).           A buyer who justifiably revokes
acceptance may, in addition to recovering the price paid, cover by
purchasing goods in substitution for those due from the seller, and
recover as damages the difference between the cost of cover and the
contract price together with any incidental or consequential
damages. Tex. Bus. & Corn. Code§§ 2.711-2.712, and 2.715 (defining

incidental and consequential damages)            If Hess justifiably revoked
acceptance of the SSVs,        and title revested in Schlumberger by
operation   of   law,   the   costs    that     Hess incurred to       purchase
replacements for the failed SSVs could not be subject to the MSC's
indemnity provision because those costs would not constitute
"damage to or loss of" Hess's property.              Accordingly, the court
concludes that Schlumberger is not entitled to summary judgment on
these damages based on the MSC's indemnity provision.

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              (b)   Costs to Retrieve and Replace the SSVs Are Not
                    "Damage[s] to or Loss of" Hess's Property
     Citing the Failure Analysis Report prepared by Hess's expert,
Barry Pulliam, Schlumberger argues that
     according to Hess, a valve defect caused the valves to
     "close[] " so they "could not be reopened" and became
     "non-functional." E.g., ECF No. 71 at 11 44-45. That
     failure allegedly caused other well equipment to fail,
     and the wells to "cease[] production." Ex. 10 at 4. The
     defect therefore caused "damage to or loss of property,"
     including to the valves and other production equipment.75
Citing Bay Rock Operating Co. v. St. Paul Surplus Lines Insurance

Co., 298 S.W.3d 216, 23 O      ( Tex.   App.    San Antonio 2009, pet.
denied), Mid-Continent Casualty Co. v. Bay Rock Operating Co.,
No. SA-07-CA-274-OG, 2009 WL 5341825, at *2 (W.D. Tex. Sept. 30,
2009), Energy EXXI, 787 F. Supp. 2d at 598, and Valero, 866 S.W.2d
at 257, Schlumberger argues courts have held that similar damages

are "property damage." 76
     Hess does not allege, and Schlumberger has not cited facts
establishing, that the costs Hess expended to retrieve and replace
the failed SSVs constitute "damage to or loss of" Hess's property.
Hess alleges:
     The non-conforming Schlumberger Safety Valves in Wells B,
     C, and D failed and as a result, production from each of
     Wells B, C, and D had to be shut in.       Hess incurred
     substantial expense to retrieve and replace the non­
     conforming valves and restore the wells to production,
     and lost profits from deferred and lost production.77


     75
          STC's MSJ, pp. 14-15, Docket Entry No. 116, pp. 20-21.
     76
          Id. at 15, Docket Entry No. 116, p. 21.
     77
          TAC, Docket Entry No. 71, p. 31 , 103.
                                   -38-
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     Schlumberger        replies   that   the   SSVs   themselves   suffered

physical damage when they failed, blocked production, and needed to
be replaced. 78       Asserting that "the valves 'failed' and needed to

be replaced," Schlumberger argues "[t]hat was a loss of 'production
and drilling equipment,' which is expressly covered by the knock­

for-knock provision." 79 Citing Energy EXXI, 787 F. Supp. 2d at 605-
08, Schlumberger argues that "at least one court in this district
has interpreted similar language to cover the costs of repairing
defective work without imposing any separate physical injury
requirement.   1180



     As explained in         §   IV.A.2 (a), above, if Hess justifiably
revoked acceptance of the SSVs, and title in the SSVs revested in

Schlumberger by operation of law, the costs that Hess incurred to
retrieve and replace the SSVs would not constitute "damage to or
loss of" Hess's property.          Schlumberger argues that even if the
SSVs revested in Schlumberger, "it would not matter because the
valves were still Hess's property upon delivery, which is when Hess
contends that Schlumberger breached the contract." 81         The court is
not persuaded by this argument because it contradicts the law of
revocation and is not supported by any authority.           See Tex. Bus. &


     78   STC's Reply in Support of MSJ, p. 5, Docket Entry No. 144,
p. 12.
     79Id.

     80
          Id. at 6, Docket Entry No. 144, p. 13.
     81
          Id. at 5, Docket Entry No. 144, p. 12.
                                     -39-
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Com. Code § 2.608(c) ("A buyer who so revokes has the same rights

and duties with regard to the goods involved as if he had rejected
them."); Neal, 99 S.W.3d at 816 ("revocation seeks to put the buyer
in the same position as if he had rejected the goods at the time of
delivery").

       In addition, the cases Schlumberger cites in support of its
argument that the costs Hess expended to retrieve and replace the
SSVs   constitute   "damage   to or loss      of"   Hess's   property       are

inapposite because none of those cases involved retrieving and
replacing a non-conforming good whose acceptance had been revoked.
Instead, the cases Schlumberger cites involved disputes in which
the plaintiffs were seeking relief for physical damage to tangible
property such as an oil well damaged by a blow out and fire, Bay
Rock Operating, 298 S.W.3d at 220, and Mid-Continent Casualty, 2009
WL 5341825; an oil well damaged by blocked tubing, Energy EXXI, 787
F. Supp. 2d at 598; and a plant damaged by a machine's explosion,

Valero, 866 S.W.2d at 253.
       Mid-Continent Casualty, 2009 WL 5341825, involved a dispute
over whether damages arising from a blow out that caused an oil rig
to burn were economic damages or property damages covered under an
insurance policy that defined "property damage" as "physical injury
to tangible property, including all resulting loss of use of that
property .     . or loss of use of tangible property that is not
physically injured." Id. at *3. Plaintiffs sought damages arising
from a blowout, "including but not limited to 'repair, completion

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and evaluation of the well, well control, lost gas sales and
redrill of the well,'" id. at *4, and the court held that those
damages were property damages covered by the policy.            Id. at *5.
The insurance policy at issue in Mid-Continent Casualty defined
"property damage" broadly to include not just damage to tangible

property but also loss of the property's use, and the court's
holding was based in part on the observation that " [w] hen there is

an injury to property, the tortfeasor must pay all economic losses

that flow from that injury."       Id. at *4.
      Schlumberger's reliance on Energy EXXI, 787 F. Supp. 2d at
605-08, is misplaced because while that court interpreted similar
indemnity language to cover costs of repairing defective work, in
holding that the indemnity clause covered breach of contract claims

and   did   not   render   the   Good   and   Workmanlike   Manner   Clause
meaningless, the court explained that
      [t]he indemnity provision makes Energy XXI responsible
      for "property damage of, personal injury to, or death of
      Energy XXI and any of Energy XXI employees." . . . Here,
      the injury associated with the alleged breach of the Good
      and Workmanlike Manner Clause is property damage. There
      are, however, certainly scenarios in which New Tech could
      breach the Good and Workmanlike Manner Clause that do not
      fall under the indemnity provision. For instance, if a
      breach of the Good and Workmanlike Manner Clause resulted
      only in economic loss as opposed to property damage,
      personal injury, or death, Energy XXI may have a valid
      claim for breach, and New Tech would not be protected by
      the Indemnity Clause. Thus, the court's interpretation
      of the Indemnity Clause as requiring indemnity in this
      case does not render the Good and Workmanlike Manner
      Clause meaningless in all cases.
Energy XXI, 787 F. Supp. 2d at 608.

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        Unlike the plaintiffs in the cases on which Schlumberger

relies who were seeking relief for physical damage to tangible
property, Hess asserts that "Hess's wells suffered no damage, and
that non-existent damage did not cause them to shut down." 82             Hess
is seeking relief for economic losses caused by Schlumberger's
alleged breaches of contract.            See Bass v. City of Dallas, 34
S.W.3d 1, 9 (Tex. App. - Amarillo 2000, no pet.) (distinguishing

between damages for economic losses available in contract actions
and damages for property losses available in tort actions).
"' Economic loss' has been defined as 'damages for inadequate value,
costs of repair and replacement of the defective product,                      or

consequent loss of profits - without any claim of personal injury

or damage to other property .            I II
                                                Id. (quoting Thomson v. Espey

Huston & Associates, Inc., 899 S.W.2d 415, 421 (Tex. App. - Austin
1995, no writ))         See also Black's Law Dictionary 589 (9th ed.

2009) (defining "economic loss" as "[a) monetary loss such as lost
wages or lost profits").           Schlumberger has not cited evidence
establishing as a matter of law that Hess's claims for costs
incurred to retrieve and replace the SSVs and restore the wells to
production are claims for "damage to or loss of" Hess's property
instead of claims for economic loss. See United States Steel Corp.
V.   John H. Young, Inc., No. 03-16-00206-CV, 2018 WL 911861, at *4
(Tex. Civ. App. - Austin, Feb. 16, 2018, no pet.) (holding economic


      Hess's Response in Opposition to STC's MSJ,
        82
                                                                 p. 12 n.10,
Docket Entry No. 127, p. 20 n.10.
                                      -42-
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loss rule barred recovery for damages because the "subject matter
of this dispute is the defective              [oil well] casing provided
by [defendant] under its contract with [plaintiff], and the damages
[plaintiff] incurred flowed from that contract                     [plaintiff]
suffered no damage beyond economic losses").             Accordingly, the
court concludes that the MSC's indemnity provision does not entitle
Schlumberger to summary judgment on Hess's claims for costs to
retrieve and       replace the   SSVs   and   to   restore   the    wells to

production.


             (cl    Lost Profits Are Not "Damage to or Loss of" Hess's
                    Property

     Citing the Pulliam Report Schlumberger asserts that Hess
argues that        "if the safety valves here had not failed,               its

production rates       'would have been higher,      resulting in higher
payments from Gulfstar One.'"83 Citing Bay Rock Operating,                  298
S.W.3d at 230, Schlumberger argues that "Hess seeks to recover for
harms caused by its wells being damaged and shutting down - which
are classic property damages. "84       Hess responds that its claim for
$5.24 million in lost profits does not call for "damage to or loss"
of Hess property. 85

      STC' s MSJ, p. 16, Docket Entry No. 116, p. 22 (quoting
     83

Pulliam Report, p. 9 1 29, Exhibit 7 to STC's MSJ, Docket Entry
No. 116-7, p. 12 1 29).
     84Id.


      Hess's Response in Opposition to STC's MSJ, p. 12, Docket
     85

Entry No. 127, p. 20. Although the Pulliam Report refers to lost
revenues, these damages are apparently meant to measure Hess's lost
profits.
                                   -43-
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     In Bay Rock Operating after pressure pushed drilling mud into

the formation, causing the well to blow out and the rig to burn,
the leasee's insurance company asserted inter alia a negligence
claim against the company hired to design and drill the well for
"damages arising from the blowout, including but not limited to

'repair, completion and evaluation of the well, well control, lost

gas sales and redrill of the well.'"       298 S.W.3d at 230.     The court
held that the damages at issue were         "clearly property damages."
Id. at 230.   Bay Rock Operating involved the same facts as and was
a companion case to Mid-Continent Casualty,             2009 WL 5341825,
discussed and distinguished in        §   IV .A.2 (b), above.    The court
concludes therefore that Bay Rock Operating is inapposite and that
Hess's claim for reduced revenues are claims for economic - not
property - damages.    See Black's Law Dictionary 589 (9th ed. 2009)

(defining "economic loss 0 as "[a] monetary loss such as lost wages
or lost profits"). Accordingly, the court concludes that the MSC's
indemnity provision does not entitle Schlumberger to summary
judgment on Hess's claims for reduced revenues.

           (d)   Methanol Contamination is "Damage to or Loss of"
                 Hess's Property
     Citing the Pulliam Report, Schlumberger asserts that Hess
injected methanol into the wells in an attempt to re-open the SSVs
after they failed, that the methanol contaminated the oil in the
wells, that when oil is contaminated it is damaged, and asserting
that under the release "property" includes "any oil and gas,"

                                   -44-
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Schlumberger argues that the costs Hess incurred due to methanol

contamination is "damage to or loss of" Hess's property. 86
     Hess responds that

     Schlumberger paints with broad strokes, ignoring the four
     separate and distinct subcategories of methanol­
     contamination damages: (1) lost profits from selling the
     methanol-contaminated oil at a markdown, (2) costs
     incurred transporting and blending the methanol­
     contaminated oil, ( 3) costs incurred storing and treating
     the methanol-contaminated oil, and (4) compensation paid
     to other producers for contaminating their clean
     production during the commingling process. Much like the
     Gunflint Damages, the first subcategory claims lost
     profits relating to a non-conforming good, not "damage to
     or loss" of Hess's property.       . The second and third
     subcategories similarly seek lost profits - that is,
     Hess's "loss of net income" spent to make the methanol­
     contaminated oil marketable. . . . The fourth subcategory
     alleges damages to third parties, not to Hess.
     Accordingly, Hess has not released Schlumberger for these
     damages. 87
Hess does not dispute that it injected the methanol into the wells
that contaminated the oil, or that it owned the oil that was
contaminated.    Because the indemnity provision applies to "damage
to or loss of property of company            . whether real or personal
(including, without limitation .          subsurface reservoirs and any

oil and gas or other hydrocarbon substances located therein)," the


      STC's MSJ, p. 16, Docket Entry No. 116, p. 22 (citing Pulliam
     86

Report, p. 10 1 32, Exhibit 7 to Schlumberger's MSJ, Docket Entry
No. 116-7, p. 13 1 32 ( "Hess injected methanol into the TBells
wells to attempt to re-open the SCSSVs after they failed and then
also to prevent the formation of hydrates in the deepwater wells
during the workovers to retrieve and replace the SCSSVs.         In
sufficient quantities, methanol is considered a harmful contaminant
and must be removed from the crude oil stream before it is
processed in a refinery.").
      Hess's Response in Opposition to STC's MSJ, p. 13, Docket
     87

Entry No. 127, p. 21.
                                   -45-
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court concludes that Schlumberger is entitled to summary judgment

on Hess's claims for costs incurred due to methanol contaminated
oil in its wells because those costs seek relief for damage to or
loss of Hess's property.

     3.          Whether Schlumberger Breached the Contract Presents Fact
                 Issues for Trial
     Asserting that           "[t]he contract prescribes processes, not

product         specifications," 88   and   that   Hess   alleges   "the   [SSVs]
violated three principal sections of API 14A, " 89 Schlumberger argues
that "Hess misreads those sections," 90 and that "[u]nder properly
construed API standards, there was no breach here." 91 Hess responds
that "the evidence shows the opposite," 92 and that the Twelfth, not
the Eleventh, Edition of API 14A applies to the Well B(2) valve. 93
Hess alleges that
     [t] he Schlumberger Safety Valves themselves did not
     conform to the agreed specifications and standards under
     the Contract.     Moreover, Schlumberger's process to
     manufacture and test the valves did not conform to the


     88
          STC's MSJ, p. 16, Docket Entry No. 116, p. 22.
      Id. at 17, Docket Entry No. 116, p. 23 (citing TAC pp. 23-25
     89

�� 73, 74, and 77).
     90Id.

      Id. at 20, Docket Entry No. 116, p. 26. See also STC's Reply
     91

in Support of MSJ, pp. 8-15, Docket Entry No. 144, pp. 15-22.
      Hess's Response in Opposition to STC' s MSJ, Docket Entry
     92

No. 127, p. 23.
     93
          Id.    at 26.
                                        -46-
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     processes Schlumberger was contractually required to
     follow. 94
Although      Hess    alleges   that     "[t]   he    non-conformity   of   the
Schlumberger Safety Valves includes, but is not limited to" at
least ten different requirements, 95 Schlumberger seeks summary

judgment on only three of the alleged requirements.

              (a)    Whether Schlumberger Breached API 14A       §   6.3.2.2 is
                     a Fact Issue for Trial
     Hess alleges:
    API 14A Section 6. 3. 2.2 provides that "SSSV equipment
    conforming to this International Standard shall be
    manufactured to drawings and specifications that are
    substantially the same as those of the size, type, and
    model SSSV equipment that has passed the validation
    test." Exhibit 1, Tab 5, at page 11.       . Schlumberger
    has admitted that the Schlumberger Safety Valves were not
    manufactured to drawings and specifications that were
    substantially the same as those of the size, type, and
    model safety valve equipment that had passed a validation
    test. Exhibit 3, at pages 28-29. Certain component
    parts of the Schlumberger Safety Valves were instead
    manufactured to incorrect dimensions that did not meet
    the required specifications for Schlumberger' s safety
    valves that had passed validation tests.          Because
    component parts of the MSE seals in the Schlumberger
    Safety Valves did not meet a required geometric seal
    design that had been qualified and validated in
    accordance with API 14A, Schlumberger has admitted that
    the MSE seals and Schlumberger Safety Valves delivered to
    Hess were never validated, qualified, or properly
    certified in accordance with API 14A.         Exhibit 4;
    Exhibit 5.     The Schlumberger Safety Valves did not
    conform to API 14A Section[] 6.3.2.2 .     . Schlumberger



     94
          TAC, Docket Entry No. 71, p. 21        §   66.
     95
          Id. at 22-27 11 68-80.
                                       -47-
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       was contractually obligated to provide an API 14A­
       compliant valve and failed to do so. 96

       Asserting that " [a] manufacturer complies with Section 6.3.2.2
when        its   SSV   equipment   is     'manufactured   to   drawings    and

specifications that are substantially the same as those [i.e., the

drawings and specifications]         of the .      . model SSV equipment,"97

and citing the Rebuttal Expert Report of David E. Mccalvin,
Schlumberger argues that "[t]here is no genuine dispute that the
'drawings and specifications' used to manufacture the safety valves

sold to Hess were 'substantially the same' as the drawings and
specifications of the validated valves." 98
       Hess counters that the word "those" used in § 6.3.2.2 refers
not to drawings and specifications but, instead, to validated
safety valve equipment. In other words, Hess argues that§ 6.3.2.2
requires the SSVs manufactured and sold to it by Schlumberger to be
substantially the same as the validated valves.99 As evidence that
the SSVs at issue were not substantially the same as the validated


     96 TAC, Docket Entry No. 71, pp. 23-24, 1 73 (quoting
Specification for Subsurface Safety Valve Equipment, ANSI/API
Specification 14A, Eleventh Edition, p. 11 § 6.3.2.2, Exhibit 1-
Tab 5 to Plaintiff's Second Amended Complaint, Docket Entry
No. 26-5, p. 20).
       97
            STC's MSJ, p. 17, Docket Entry No. 116, p. 23.
      Id. (citing Exhibit 11 to STC's MSJ, Rebuttal Expert Report
       98

of David E. Mccalvin ("Mccalvin Rebuttal Report"), pp. 13, 32-33,
44, 177-78, 196-97, 219-21, Docket Entry No. 116-11, pp. 4-6, 10,
19-22, 24-26).
      Hess' s Response in Opposition to STC' s MSJ, pp. 15-16, Docket
       99

Entry No. 127, pp. 22-23.
                                         -48-
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valves, Hess cites the Safety Valve Test and Inspection Engineering

Report prepared by Schlumberger stating:
         The MSE Seal Spring is the primary root cause of the
         failure as the MSE Seal is from the suspect batch of MSE
         Seals.


         It was found that the supplier was no longer providing
         the same qualified spring as to the 2004 MSE Seal Set
         qualification. The non-conformance in the spring altered
         the performance of the MSE and compromised the sealing
         capability of the seal stack.100

Alternatively, Hess argues that Schlumberger breached § 6.3.2.2
even under its own interpretation because Schlumberger lacked
drawings and specifications of the 2004 certified MSE seal until a
subcontractor, Greene Tweed, reverse engineered such drawings from
existing seals after the SSVs were installed in Wells B, C, and

D. 101         In support of this argument Hess cites the deposition
testimony of Dwayne May that "[t]here was no assembly drawing, no
dimensional assembly drawing other than the parts themselves,"102

       Exhibit 13 to Hess's Response in Opposition to STC's MSJ,
         100

Safety Valve Test and Inspection Engineering Report, p. 28 of 55,
Docket Entry No. 127-14, p. 3.
       Hess's Response in Opposition to STC's MSJ, p. 16, Docket
         101

Entry No. 127, p. 24 (citing Exhibit 18, Oral and Videotaped
Deposition of Dwayne May ("May Deposition"), p. 239:10-23, Docket
Entry No. 127-19, p. 4). See also Exhibit 13, Safety Valve Test,
p. 30 of 55, Docket Entry No. 127-14, p. 5 ("No dimensional
inspection drawing was initially included in the SLB part record.
The inspection requirements were found to be sub-standard.
Dimensional inspection prints were developed by Greene Tweed and
are now included in all part records to ensure all critical
dimensions are met.").
        Id. (citing Exhibit 18 to Hess's Response in Opposition to
         102

STC's MSJ, May Deposition, p. 238:14-21, Docket Entry No. 127-19,
p. 3} .
                                    -49-
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and the deposition testimony of Schlumberger's API expert, David
Mccalvin,   that safety equipment could not be manufactured in
compliance with the API standard if there were no drawings and
specifications. 103
     Regardless of whether the word "those" used in § 6. 3.2.2

refers to drawings and specifications as Schlumberger argues, or to
safety valve equipment as Hess argues, Hess's evidence that the
SSVs at issue were not substantially the same as validated seals,
and were manufactured before Greene Tweed reverse engineered
drawings and specifications,        persuade the court that whether
Schlumberger breached§ 6.3.2.2 of the API 14A requirements is a

genuine issue of material fact for trial.

            (b)   Whether Schlumberger Breached API 14A§ 7.6.2 is a
                  Fact Issue for Trial
     Hess alleges:
     API 14A Section 7.6.2 provides that components such as
     MSE seals "shall be dimensionally inspected to assure
     proper function and compliance with design criteria and
     specifications."     Exhibit 1, Tab 5, at page 18.
     Schlumberger failed to dimensionally inspect the MSE
     seals to assure proper function and compliance with
     design criteria and specifications.    Schlumberger has
     admitted that no dimensional inspection was performed on
     the MSE seals in the Schlumberger Safety Valves.
     Exhibit 4; Exhibit 5. The Schlumberger Safety Valves did
     not conform to API 14A Section 7.6.2. Schlumberger was



       Id. (citing Exhibit 34 to Hess's Response in Opposition to
     103

STC's MSJ, oral Deposition of David E. Mccalvin ("Mccalvin
Deposition"), pp. 54:8-55:5, Docket Entry No. 127-35, pp. 3-4).
                                   -50-
  Case 4:16-cv-03415 Document 158 Filed on 11/07/19 in TXSD Page 51 of 81


     contractually obligated to provide an API 14A-compliant
     valve and failed to do so. 104
     Asserting    that    §    7.6.2   states   that    "[a]ll   traceable

components, except non-metallic seals,          shall be dimensionally

inspected to assure proper function and compliance with design
criteria and specifications," Schlumberger argues that this section

does not apply to the SSVs because "'the seal is created by using
a non-metallic substance.'"105 Acknowledging that seals may contain
metal components such as springs,106 Schlumberger argues that it is

entitled to summary judgment that it did not breach§ 7.6.2 because
"the seals here have a non-metallic surface,            'the entire seal
assembly,' including any components, 'is considered part of the

non-metallic seal.'           . Thus, Section 7.6.2 'does not require

Schlumberger to perform dimensional inspections' of the seals." 107
In support of this argument, Schlumberger cites the McCalvin
Rebuttal Report,108 stating in pertinent part:


       TAC, Docket Entry No. 71, p. 25 1 77 (quoting Specification
     104

for Subsurface Safety Valve Equipment, ANSI/API Specification 14A,
Eleventh Edition, p. 18, § 7.6.2, Exhibit 1-Tab 5 to Plaintiff's
Second Amended Complaint, Docket Entry No. 26-5, p. 27).
       STC's MSJ, p. 19, Docket Entry No. 116, p. 25 (citing
     105

Exhibit 11 to STC's MSJ, Mccalvin Rebuttal Report, pp. 165-67, 208,
Docket Entry No. 116-11, pp. 11-13, 23; and Exhibit 15 to STC's
MSJ, Oral Deposition of Dennis M. Read, Jr. ("Read Deposition"),
p. 15:1-8, Docket Entry No. 116-15, p. 5.
       Id. (citing Exhibit 10, Schlumberger TRC-II 5-1/2" 15k SCSSV
     106

Failure Analysis Report Tubular Bells Wells D, B & C by David E.
Hirth ("Hirth Report"), p. 4, Docket Entry No. 116-10, p. 3).
       Id. (quoting Exhibit 11 to STC's MSJ, McCalvin Rebuttal
     107

Report, pp. 166-67, Docket Entry No. 116-11, pp. 12-13).
       STC's Reply in Support of MSJ, pp.
     108
                                                    12-13, Docket Entry
No. 144, pp. 19-20.
                                   -51-
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     MSE seal assemblies are considered non-metallic seals in
     the industry. This is because the sealing surfaces of
     the MSE seals themselves are non-metallic. The opposite
     of a non-metallic seal is a metallic seal, which would
     create a metal-to-metal seal. Notably, a MSE seal is not
     a metallic seal. The metal in the MSE seals is used to
     energize the sealing surface, not to create the seal. As
     a result, there is no requirement within API 14A,
     Eleventh Edition to dimensionally inspect every MSE seal
     assembly because they are non-metallic seals, and not
     subject to the requirements of Section 7.6.2. This has
     been the common understanding of the meaning of this
     section throughout the industry. 109
     Asserting that Mccalvin testified at his deposition that the
rosette spring "is not a sealing surface" and "could be considered
a component of the MSE seal assembly,"110 Hess argues in response
that rosette springs are "traceable components" for which§ 7.6.2
requires dimensional testing.       Then, citing the Safety Valve Test
that Schlumberger prepared for Hess, Hess argues that "Schlumberger
       never dimensionally inspected the rosette spring component
until September 2015 at the earliest (nor did Greene Tweed always
do so, for that matter).      It therefore breached§ 7. 6.2. "111


       Exhibit 11 to STC's MSJ, McCalvin Rebuttal Report, pp. 34-
     109

35, Docket Entry No. 116-11, pp. 7-8. See also id. at 165-66,
Docket Entry No. 116-11, pp. 11-12 ("If a seal is non-metallic,
then it is not governed by the dimensional inspection requirement
of [§] 7.6.2 of API 14A. As I have explained earlier in my report,
the industry considers MSE seal assemblies of the type at issue
here, where the sealing surface is non-metal and the non-metal
sealing surface is merely energized by two metal springs, to be
non-metallic seals.").
     11Hess's Response in Opposition to STC's MSJ, p. 17, Docket
       0

Entry No. 127, pp. 25-26 (citing Exhibit 34 to STC's MSJ, Mccalvin
Deposition, pp. 64:5-8 and 106:8-11, Docket Entry No. 127-35, pp. 6
and 12).
       Id. at 17-18, Docket Entry No. 127, pp. 25-26 (citing
     111

Exhibit 13 to Hess's Response in Opposition to STC's MSJ, Safety
Valve Test, p. 28 of 55, Docket Entry No. 127-14, p. 3).
                                   -52-
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     Section 7.6.2 governing "[c]omponent dimensional inspection,"

states:

     All traceable components, except non-metallic seals,
     shall be dimensionally inspected to assure proper
     function and compliance with design criteria and
     specifications. Inspection shall be performed during or
     after the manufacture of the components but prior to
     assembly, unless assembly is required for proper
     measurement. 112

While Mccalvin testified that the SSVs are exempt from dimensional

inspection under     §   7. 6.2 because they are non-metallic seals,

Schlumberger has failed to cite evidence establishing as a matter

of law that the component parts of the SSVs are not "traceable

components" subject to the dimensional testing required by         §   7.6. 2.

To the contrary Schlumberger has acknowledged that the SSVs have

component parts that are metallic, i.e., seal springs, and the

Safety Valve Test that Schlumberger prepared for Hess concluded

that the seal springs were the "primary root cause" of the SSV

failures, "the supplier was no longer providing the same qualified

[seal]     spring as to the 2004 MSE Seal Set qualification," and

"[t] hese critical components now all require 100% dimensional

inspection." 113 Because the seal springs are not non-metallic seals

but, instead, component parts of non-metallic seals, whether the


       Specification for Subsurface Safety Valve Equipment,
     112

ANSI/API Specification 14A, Eleventh Edition, p. 18, § 7.6. 2,
Exhibit 1-Tab 5 to Plaintiff's Second Amended Complaint, Docket
Entry No. 26-5, p. 27.
     11Exhibit 13 to Hess's Response in Opposition to STC's MSJ,
       3

Safety Valve Test, p. 28 of 55, Docket Entry No. 127-14, p. 3.
                                   -53-
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seal springs are                "traceable components" subject to §           7.6.2's

dimensional              inspection   requirement     and     whether    Schlumberger

breached that requirement by failing to dimensionally inspect the

seal springs are fact issues for trial.

                   (c)    Whether Schlumberger Breached API 14A§ 7.6.3(c) is
                          a Fact Issue for Trial
        Hess alleges:
       API 14A Section 7.6.3(c} provides that "sealing elements
       shall meet dimensional tolerances of the manufacturer's
       written specifications." Exhibit 1, Tab 5, at page 18.
       Schlumberger has admitted that certain component parts of
       the MSE seals used in the Schlumberger Safety Valves did
       not meet dimensional tolerances of the manufacturer's
       written specifications. Exhibit 3, pages 28-29. The
       Schlumberger Safety Valves did not conform to API 14A
       Section 7.6.3(c).      Schlumberger was contractually
       obligated to provide an API 14A-compliant valve and
       failed to do so.114
       Schlumberger argues that it is entitled to summary judgment
that it did not breach the requirements of§ 7.6.3(c) "because it
is the manufacturer,               and it did not have written,            specified
dimensional tolerances for the seal components."n 5                     Citing§ 3.14
of    the        API     14A,   Eleventh   Edition,   Schlumberger       argues   that
"manufacturer" means "principal agent in the design, fabrication
and furnishing of equipment,                 who chooses to comply with this
International Standard." 116               Citing the Mccalvin Rebuttal Report
Schlumberger argues that


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            4
                TAC, Docket Entry No. 71, p. 24       1 74.
       11
         5
                STC's MSJ, p. 20, Docket Entry No. 116, p. 26.
       ll6Id.

                                            -54-
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       [a]s for "written specifications," Section 7.6.3 does not
      require the manufacturer        here, Schlumberger      to
      include dimensional tolerances in its specifications,
      particularly when its vendor, Greene Tweed, generated its
      own, internal written specifications with dimensions and
      dimensional tolerances for components of its proprietary
      design.    Ex. 11 at 167-72.     It is not unusual for a
      supplier such as Greene Tweed to keep its written
      specifications for its designs as trade secrets. Id. at
      168.    Moreover, measuring seal components would have
      required Schlumberger to disassemble, inspect, and
      reassemble the seals. Id. That would have damaged the
      seals, which are not designed to be disassembled. Id. at
      46-47. Section 7.6.3 was not breached, either.117
      Citing the Mccalvin Deposition Hess argues that whether the
manufacturer of the SSVs for purposes of complying with§ 7.6.3(c)
was Schlumberger or Greene Tweed is a fact issue for trial.                 In

support of this argument Hess asserts Mccalvin testified that the
term "manufacturer" can refer to different entities depending on

the   context,118    that   when   initially     asked,     "who     is   the

manufacturer?,"     Mccalvin   answered   "Greene    Tweed," 119    but   that
Mccalvin subsequently changed his mind and identified Schlumberger
as the "manufacturer" for purposes of § 7. 6.3(c). 120             McCalvin's

conflicting testimony shows that whether Schlumberger or Greene
Tweed was the "manufacturer" and whether Schlumberger breached


       Id. (citing Exhibit 11 to STC's MSJ, Mccalvin Rebuttal
      11
           7

Report, pp. 167-72, Docket Entry No. 116-11, pp. 13-18).
       Hess's Response in Opposition to STC's MSJ, p. 18, Docket
      11
           8

Entry No. 127, p. 26 (citing Exhibit 34 to Schlumberger's MSJ,
Mccalvin Deposition, p. 68:10-14, Docket Entry No. 127-35, p. 9).
       Id. (citing Exhibit 34 to STC's MSJ, Mccalvin Deposition,
      11
           9

p. 66:22-24, Docket Entry No. 127-35, p. 8).
       Id. & n.19 (citing Exhibit 34 to STC's MSJ, Mccalvin
      120

Deposition, p. 119:12-19, Docket Entry No. 127-35, p. 13).
                                   -55-
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§   7. 6. 3 (c) by failing to provide Hess with SSVs whose sealing

elements met dimensional tolerances of the manufacturer's written

specifications are fact issues for trial.

             (d)   Hess Has Alleged Violations of the Eleventh Edition
                   of API 14
      Asserting that "Schlumberger agreed to provide safety valves

conforming to 'the latest edition of' API 14A,"121 Hess argues that

      Schlumberger retrofitted - that is, manufactured - the
      Well B2 safety valve in late January 2016 and delivered
      that valve to Hess in the spring of 2016.       . At that
      time, the Twelfth Edition was the "latest edition" of API
      14A       . , that's why Schlumberger and its clients
      applied the Twelfth Edition of API 14A to the retrofitted
      safety valves rather than the Eleventh Edition.
      Schlumberger itself identified compliance "gaps" with the
      Twelfth Edition of API 14A. . . Schlumberger's API expert
      agrees that the Well B2 safety valve does not conform to
      the Twelfth Edition of API 14A.122
In support of this argument Hess submits the title page of the
Twelfth Edition of API 14A showing an effective date of January 15,
2016,123 and a document titled TRC-II MSE Seal Qualified and
Reproduction Bridging Document prepared by Schlumberger for another
client, i.e., BP, that contains a "Gap Analysis" for API 14A
Twelfth Edition requirements. 124


      121rd. at 18-19, Docket Entry No. 127, pp. 26-27.
      122Id. at 19, Docket Entry No. 127, p. 27.

     123rd. (citing Exhibit 24 to Hess Response in Opposition to
STC's MSJ, Docket Entry No. 127-25).
     124Id. (citing Exhibit 41 to Hess Response in Opposition to
STC's MSJ, Docket Entry No. 127-42, pp. 16-17).
                                     -56-
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       Schlumberger responds that the Twelfth Edition does not apply

to Hess's claims because the Well B(2) valve work was a repair, 125
§   7.1 of the Twelfth Edition provides that "[r]epair operations for
SSSVs . . . shall include the return of the product to a condition
meeting all requirements stated in this specification or the

edition of this specification in effect at the time of original

manufacture," 126 and the Certificate and Shipping Report for the
Well B(2) valve stating that it was certified to the Eleventh
Edition of API 14A. 127
       Hess filed it's TAC on May 9, 2018, alleging, inter alia,
"[d]espite Schlumberger's contractual obligations and assurances,
the Schlumberger Safety Valves were not manufactured and tested in
accordance with the Eleventh Edition of API 14A, which was the
latest edition of API 14A published at the time the Commercial
Agreement was entered." 128        Hess's TAC does not allege any specific
violations        of   the   API   14A   Twelfth   Edition.   Moreover,    the
Certificate and Shipping Report for the Well B(2) valve clearly
states that it was certified to the Eleventh Edition of API 14A. 129

       STC's Reply in Support of MSJ,
       125
                                                      Docket Entry No.    144,
pp. 21-22.
       Id. (citing Exhibit 31 to STC's Reply in Support of MSJ,
       126

Docket Entry No. 144-7, p. 58).
       Id. at 21 (citing Exhibit 32 to STC's Reply in Support of
       127

MSJ, Docket Entry No. 144-9).
       128
             TAC, Docket Entry No. 71, p. 23       1 71.
       Exhibit 32 to STC's Reply in Support of MSJ, Docket Entry
       129

No. 144-9.
                                         -57-
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The court concludes therefore that the Eleventh Edition of API 14A

applies to the claims that Hess has asserted in this action.


B.      Schlumberger is Not Entitled to Summary Judgment on Hess's
        Breach of Contract Claim for the Well B(2) Valve

        Schlumberger argues that it is entitled to summary judgment on

Hess's claims as to the Well B(2) valve pursuant to the January 1,
2017, Bridging Agreement because "the Well B(2) valve claims are
not 'Disputed Claims'" thereunder. 130           Schlumberger argues that
"[e]ven if the Well B(2) valve claims somehow survived,                 Hess's
damages on the claims are capped" at "one hundred fifty percent
(150%) of the invoiced amount."          Hess argues in response that its
Well B(2)         valve claims are neither waived nor limited by the
Bridging Agreement. 131
       The Bridging Agreement is an "amendment to the [MSC], " 132 which
in pertinent part provides:

       a.        Except for the performance by either Party under
                 the Contract related to the Disputed Claims as
                 defined below, Section 13 of the [MSC] is hereby
                 amended for contracts between the Parties entered
                 into before, on or after the Bridging Agreement
                 Effective Date by adding the following new Section
                 13 (k) :
       The term "Disputed Claims" means any and all claims
       whether asserted or unasserted, known or unknown, related

        13
          0
              STC's MSJ, p. 21, Docket Entry No. 116, p. 27.
       Hess's Response in Opposition to STC's MSJ, p. 19, Docket
        131

Entry No. 127, p. 27.
       Exhibit 4 to STC's MSJ, Bridging Agreement, p. 1, Docket
        132

Entry No. 116-4, p. 2.
                                      -58-
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     to or arising out of (a) the facts as described in the
     complaint filed by [Hess] on November 18, 2016 (Case
     4: 16-cv-03415) against [Schlumberger] in the United States
     District Court for the Southern District of Texas,
     Houston Division, or (b) the performance expectations of
     the replacement Surface Controlled Subsurface Safety
     Valves ("SCSSV" or "Valves") for Wells B and D, as well
     as the original Valve for Well A at the Tubular Bells
     Lease.133

     1.       Well B(2) Claim is a "Disputed Claim" under Clause (a) of
              the Bridging Agreement
     Schlumberger argues that it is entitled to summary judgment on

Hess's Well B(2) claim under clause (a) of the Disputed Claims
provision because the Well B(2) claim is not "related to," and does
not "aris[e] out of," "the facts described in the complaint filed
by [Hess] on November 18, 2016."134 Schlumberger argues that the
complaint filed on November 18, 2016 (Docket Entry No. 1),
     never mentions the Well B(2) valve, except to say that it
     was replaced by a valve with "components qualified and
     verified as per design." ECF No. 1 at 1 34. Hess added
     no claims concerning Well B(2) until its [TAC]. See ECF
     No. 71 at 11 53-56. Those claims are not covered by
     section (a).135
Hess responds that its
     original complaint alleged revocation of acceptance based
     on Schlumberger's delivery of non-conforming safety
     valves containing non-conforming MSE seals that caused
     their ultimate failure. ECF No. 1, at 8-10. Hess's Well
     B(2) claim alleges the same. ECF No. 71, at 29-31. Were
     that not enough, Hess's Well B(2) claim flows directly
     from allegations in Hess's original complaint: had the


     133Id.


     134   STC's MSJ, p. 21, Docket Entry No. 116, p. 27.


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     Well B safety valve not failed, Hess would not have been
     forced to install the Well B(2) safety valve. Indeed,
     Schlumberger already implicitly acknowledged this close
     relationship when the parties jointly requested to extend
     the scheduling order, suggesting that amending Hess's
     complaint to include Well B(2) would "save the time and
     resources of the parties and the Court."     ECF No. 67,
     at 1. Because the Well B(2) claim has some nexus to
     facts described in the November 2016 complaint, it
     "relate[s] to or aris[es] out of" those facts. Exh. 30,
     at 1. 136
     The court is not persuaded by Schlumberger's argument that
Hess's Well B(2)          claim is not covered by the Disputed Claims
provision because Hess "added no claims concerning Well B(2) until
its third amended complaint." 137               The Disputed Claims provision
expressly states that "[t]he term 'Disputed Claims' means any and
all claims whether asserted or unasserted, known or unknown." 138
Schlumberger's argument that the Disputed Claims provision only
applies to asserted, known claims violates the accepted rule of
contract construction that the court must examine the entire
writing in an effort to harmonize and give effect to all the
provisions         of   the   contract   so     that   none   will    be   rendered
meaningless.            See Coker, 650 S.W.2d at 393.                Schlumberger's

argument that the Well B(2) claim falls outside the Disputed Claims
provision because it does not "relate to," or "aris[e] out of,"


     13Hess Response in Opposition to STC's MSJ, p. 21, Docket
          6

Entry No. 127, p. 29.
     13
       7
              STC's MSJ, p. 21, Docket Entry No. 116, p. 27.
     13Exhibit 4 to STC's MSJ, Bridging Agreement, p. 1, Docket
       8

Entry No. 116-4, p. 2.
                                         -60-
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"the     facts      described    in   the   complaint   filed   by   [Hess]   on

November 18,         2016, "139 lacks merit because those broad phrases
require only a "causal connection or relation" to the facts alleged
in the November 18, 2016, complaint. See Crimson Exploration, Inc.
v. Intermarket Management, LLC, 341 S.W.3d 432, 443 (Tex. App. -
Houston [1st Dist.] 2010, no pet.) (citing E.I. Du Pont De Nemours
and Co. v. Shell Oil Co., 259 S.W.3d 800, 806 (Tex. App. - Houston

[1st Dist.] 2007, pet. denied)).
       Because Hess alleges that the Well B(2) claim involves the

same non-conforming MSE seal (albeit with slightly different
dimensions) as the claims asserted in the November 18,                     2016,
complaint, the court concludes that Hess's Well B(2) Claim is a
"Disputed Claim"         under Clause (a) of the Bridging Agreement's
Disputed Claims provision, and therefore that Hess's damages on the
claim are not subject to the caps otherwise imposed by the Bridging

Agreement's         amendments   to   the   MSC.    Accordingly,     the   court
concludes that Schlumberger is not entitled to summary judgment on
Hess's Well B(2) claim because that claim is "related to" or
"aris[es] out of" the facts described in Hess's November 18, 2016,
complaint.

       2.        Well B(2) Claim is Not a "Disputed Claim" Pursuant to
                 Clause (b) of the Bridging Agreement
       Asserting that "the parties defined 'Disputed Claims' to cover
'the performance expectations of the replacement [valves]                  . for


       1 39
              Schlumberger's MSJ, p. 21, Docket Entry No. 116, p. 27.
                                        -61-
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Wells B and D,'" 140 Schlumberger argues that it is entitled to

summary judgment on Hess's Well B(2) claim pursuant to clause (b)
of the Disputed Claims provision because the court's June 29, 2017,
Memorandum Opinion and Order dismissed all of Hess's performance­
expectation claims.141       Hess's Response in Opposition to STC's MSJ
on its Well B(2) claim does not mention clause (b)'s reference to
"the performance expectations of the replacement [valves]," and is
instead      based   on   language   from    clause    (a)   of   the   Bridging

Agreement's "Disputed Claims" provision.              The court concludes that
any Well B(2) claim that Hess has asserted or attempted to assert
based on performance expectations of the replacement valve is
precluded by the holding in the court's June 29, 2017, Memorandum
Opinion and Order that "Hess may not proceed with its claims based
on the failure of the         [valves] to function after the warranty
period."      Hess, 2017 WL 2829697, at *7.


C.     Schlumberger is Not Entitled to Summary Judgment Because Hess
       Has Failed to Satisfy the Appropriate Standard to Recover
       Incidental Damages

       Recognizing that under the Texas Business and Commerce Code a
buyer may recover incidental damages "resulting from" a seller's
breach of contract, Schlumberger asserts that Hess must satisfy a


       STC's MSJ, p. 21, Docket Entry No. 116, p. 27 (citing
       140

Exhibit 4 to Schlumberger's MSJ, Bridging Agreement, p. 1, Docket
Entry No. 116-4, p. 2)
       STC's MSJ, p. 21, Docket Entry No. 116, p. 27 (citing
       141

Memorandum Opinion and Order, Docket Entry No. 40, p. 16. See also
Hess, 2017 WL 2829697, at *7).
                                      -62-
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but-for standard to recover incidental damages, and argues that

Hess    has         failed   to   provide    evidence   using   that    measure   of
damages. 142          Citing Delhomme,      735 F.2d at 185-86,        Schlumberger
argues that it is entitled to summary judgment on workover costs
and lost-opportunity costs because a majority of the costs Hess

seeks, about $177 million, stem from workovers performed by the

Stena Forth drillship, which Hess had under contract and would have

paid even if the SSVs had not failed. 143               Citing Eni US Operating
Co., Inc. v. Transocean Offshore Deepwater Drilling, Inc., 919 F.3d

931, 941 (5th Cir. 2019), Schlumberger argues that
       Hess cannot recover these costs, which it would have
       incurred in a "non-breach world."          Instead, Hess
       should have attempted to quantify how much it lost by
       using the Stena Forth to perform workovers instead of
       drilling new wells. Hess did not do so. As a result,
       its claims for Well B, C, and D workover costs should be
       dismissed. 144
       Asserting that it is not seeking lost-opportunity costs, Hess
responds that "[m]ost incidental damages do not require some overly
complex (and almost certainly speculative) cash inflow and outflow
projection; rather, the buyer simply must set forth some evidence
showing that the claimed damages, in whatever form they take, would

not have been incurred absent the non-conformity." 145                      Citing


       14
            2
                STC' s MSJ, pp. 22-25, Docket Entry No. 116, pp. 28-31.
       143
                Id. at 22, Docket Entry No. 116, p. 28.


       Hess Response in Opposition to STC' s MSJ, p. 22, Docket
       145

Entry No. 127, p. 30.
                                            -63-
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Leggett   &   Platt, Inc. v. Yankee Candle Co., Civil Action No. 4:06-
CV-366-Y, 2008 WL 723582, at *1-2 (N.D. Tex. March 18, 2008), Hess
argues that incidental damages are available when the seller's
breach forces the buyer to divert resources it allocated from one

task to another resulting in additional costs.

     In Leggett    &   Platt a buyer purchased and installed hundreds of
shelves that failed to conform to its contract with the seller.
Although the seller provided replacement shelves at no cost, the
buyer sought to recover as incidental damages the additional
expense and "work-hours to have its employees replace the shelves
in all of its stores."       Id. at *11.   The seller argued that those
damages were not caused by its breach because the buyer would have
to pay its employees for their duties regardless of the replacement
of the defective shelves.      The court rejected the seller's argument

stating, "[i]t's irrelevant that [the buyer] would be paying its
employees regardless, what's relevant is that instead of performing
their regular duties,        they now have to reinstall new shelving
because of [the] breach.       That is a cognizable harm."      Id.

     Texas Business and Commerce Code§ 2.715(a) entitles aggrieved
buyers who properly revoke acceptance to recover
     [i]ncidental damages resulting from the seller's breach
     includ[ing] expenses reasonably incurred in inspection,
     receipt, transportation and care and custody of goods
     rightfully rejected, any commercially reasonable charges,
     expenses or commissions in connection with effecting
     cover and any other reasonable expense incident to the
     delay or other breach.

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Although the Texas Business and Commerce Code does not define the

term "resulting from," neither party disputes that in this context
the term means "because."          Indeed, both parties cite Carbontek
Trading Co., Ltd. v. Phibro Energy, Inc., 910 F.2d 302, 308 (5th
Cir.   1990),   for    its    conclusion   that   incidental   damages   are

available when the buyer incurred them because the product was non-
conforming.     Id. ("Phibro incurred the enumerated expenses only
because Carbontek's coal was nonconforming."). See also Indust-Ri­
Chem Laboratory, Inc. v. Par-Pak Company, Inc., 602 S.W.2d 282, 291

n.2 (Tex. App. - Dallas 1980, no writ) ("The term 'caused' is used

here rather than 'proximately caused' because we are not sure that
'proximately caused' is the appropriate standard."). Accordingly,
the court concludes that the proper standard for analyzing Hess's
claim for incidental damages for removing and replacing the SSVs is
that stated in        Carbonteck, i.e., whether those damages were
incurred because Schlumberger's SSVs were non-conforming.
       The court is not persuaded that either Delhomme, 735 F.2d at
185-86, or Eni, 919 F.3d at 941, prohibits recovery of the
incidental damages that Hess seeks for retrieving and replacing the
non-conforming SSVs. Eni is inapposite because, unlike the present
case, it involved a common law breach of contract claim arising
from a contract for services in which the court held that the non­
breaching party was entitled to expectation damages that were not
properly calculated.         Delhomme is inapposite because, unlike the
present case, it involved a breach of warranty action in which the

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court noted that the buyer of an aircraft would have incurred the

insurance and finance charges even if the aircraft had been as
warranted.   The insurance and finance payments in Delhomme were
held to be incident to the buyer's owning, maintaining, and using
the aircraft and not to the seller's breach.            The facts in the

present case are distinguishable from the facts in Delhomme because

the costs Hess incurred employing the Stena Forth drillship were

not incident to Hess's owning, maintaining, or using the SSVs; and
if the ssvs had been conforming, Hess would not have had to pay the

Stena Forth drillship to remove and replace them.

     The facts of the present case are analogous to the facts in
Leggett & Platt, 2008 WL 723582,          where the court rejected the
breaching seller's argument that the buyer should not be able to
recover as incidental damages the work-hours to have its employees

replace the shelves in all of its stores because the buyer would be
paying its employee's anyway.       Id. at *11.      The court concludes

that it is irrelevant that Hess would be paying for the Stena Forth

regardless of Schlumberger's breach;         what is relevant is that

instead of paying the Stena Forth to drill new wells, Hess had to

pay the Stena Forth to remove and replace the non-conforming SSVs.

That is a cognizable harm.      Accordingly, the court concludes that
Schlumberger is not entitled to summary judgment on Hess's claims
for workover costs, i.e., costs incurred to retrieve and replace
the non-conforming SSVs.


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             VI.    Hess's Motion for Partial Summary Judgment

     Schlumberger asserts multiple affirmative defenses, including

the affirmative defense of release, by alleging:

     Hess's claims are barred by release. The [MSC] released
     [Schlumberger] from all claims brought by any party for
     any and all "damage to or loss of property".       Master
                                                    146
     Service Contract No. 7525 .   . Art. 13(c)(1).

Citing      the    indemnity   provision    in   Article   13   of   the   MSC,

Schlumberger asserts a single counterclaim for indemnity alleging:

     8.       On November 18, 2016 Hess filed this action in the
              United States District Court for the Southern
              District of Texas asserting a claim against
              Schlumberger for breach of contract.

     9.       Hess's lawsuit asserts claims for damage to and
              loss of Hess's property, including subsurface
              safety valves provided by [Schlumberger] to Hess.

     10.      Hess's lawsuit asserts claims on account of loss of
              or damage to [Schlumberger's] property, equipment,
              materials, or products, including subsurface safety
              valves provided by [Schlumberger] to Hess.

     11.      By filing a lawsuit, Hess has breached its
              obligation    to   defend   and    hold harmless
              [Schlumberger] against these claims.

     12.      Hess's indemnity obligations require Hess to
              indemnify [Schlumberger] for the attorney's fees
              already incurred in defending against the claims
              asserted by Hess.

     13.      In the event that Hess receives a judgment against
               [Schlumberger], Hess's indemnity obligations would
              require Hess to indemnify [Schlumberger] for the
              amount of any judgment awarded to Hess. 147



     146
       Defendants' Answer and Affirmative Defenses and Counter­
claims to Hess's Third Amended Complaint, Docket Entry No. 72,
p. 19 (Sixth Affirmative Defense)
       7
     14    Id. at 21 11 8-13.

                                     -67-
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     Hess argues that it is entitled to summary judgment on

Schlumberger's affirmative defense of release and counterclaim for
indemnity because " (I) Hess's claims do not seek recovery for
'damage to or loss' of Hess's property and (II) more broadly, the
MSA's indemnity-and-release provisions do not apply to a breach of
contract under the Commercial Agreement." 148               Schlumberger responds

that "[e] very category of damage described by Hess is property
damage, meaning all of its claims were released in the knock-for­
knock provision," 149 and that "[b] y covering all claims for property
damage arising out of Schlumberger's 'work,' the knock-for-knock
provision covers breach-of-contract claims." 150
     Hess's            motion    for   summary   judgment     on   Schlumberger's

affirmative defense of release and counterclaim for indemnity
depends      on    §     13   of the    MSC   ("Indemnity    Provision")    "The

interpretation of a contractual indemnity provision is a question
of law .          II
                         Becker v. Tidewater, Inc., 586 F.3d 358, 369 (5th

Cir. 2009).         In pertinent part the Indemnity Provision states:

     13.      INDEMNITIES

              (a)       Definitions


                        3.      "CLAIMS" shall include all claims,
                                demands, suits, causes of action, losses,

     148
           Hess's MPSJ, Docket Entry No. 118, p. 15.
       Defendant Schlumberger Technology Corporation's Opposition
     149

to Hess Corporation's Motion for Partial Summary Judgment ("STC's
Opposition to Hess's MPSJ"), p. 6, Docket Entry No. 136, p. 11.
     150
           Id. at 13, Docket Entry No. 136, p. 18.
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                    liabilities, damages (including, without
                    limitation, compensatory, and exemplary),
                    judgments, awards, obligations to defend
                    or indemnify others, and other costs of
                    every kind and character (including,
                    without limitation, court costs, attor­
                    neys' fees, debts and interest), known or
                    unknown, whether the underlying claim,
                    demand, or suit is groundless, false or
                    fraudulent.



        (b)   IT IS THE SPECIFIC AND EXPRESSED INTENT AND
              AGREEMENT OF THE COMPANY AND THE CONTRACTOR
              THAT ALL RELEASE, DEFENSE, HOLD HARMLESS AND
              INDEMNITY OBLIGATIONS AND OTHER LIABILITIES
              ASSUMED BY COMPANY AND CONTRACTOR RESPECTIVELY
              UNDER SECTIONS 13(c) AND (d) SHALL BE WITHOUT
              REGARD TO THE NEGLIGENCE (WHETHER SOLE, JOINT,
              OR CONCURRENT, ACTIVE OR PASSIVE), BREACH OF
              WARRANTY, STRICT LIABILITY, PREMISES LIABILITY,
              DEFECTIVE CONDITION (WHETHER PRE-EXISTING OR
              OTHERWISE) OF ANY FACILITIES,        EQUIPMENT,
              MATERIALS, TOOLS, OR OTHER ITEM WHATSOEVER
                   . OR ANY OTHER FAULT OF THE INDEMNIFIED
              PARTIES OR ANY OTHER PARTY EXCEPTING ONLY THE
              GROSS NEGLIGENCE, RECKLESSNESS OR WILLFUL
              MISCONDUCT OF COMPANY GROUP OR CONTRACTOR
              GROUP.

        (c)   Company's Indemnity Obligations:

              1.    COMPANY SHALL FULLY RELEASE, DEFEND,
                    INDEMNIFY AND HOLD CONTRACTOR GROUP
                    HARMLESS FROM AND AGAINST ALL CLAIMS
                    BROUGHT BY OR ON BEHALF OF ANY PARTY OR
                    PERSON, FOR ANY AND ALL:

                    (i)    PERSONAL INJURY OF COMPANY AND ITS
                           EMPLOYEES;

                    (ii)   WORKMEN'S COMPENSATION CLAIMS UNDER
                           THE STATUTORY EMPLOYER DOCTRINE;
                           AND

                    (iii) DAMAGE TO OR LOSS OF PROPERTY OF
                          COMPANY AND ITS EMPLOYEES, WHETHER
                          REAL OR PERSONAL (INCLUDING, WITH­
                          OUT LIMITATION,    PRODUCTION AND

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                                    DRILLING    EQUIPMENT,   WELLBORE,
                                    CASING, SUBSURFACE RESERVOIRS AND
                                    ANY OIL AND GAS OR OTHER HYDRO­
                                    CARBON SUBSTANCES LOCATED THEREIN)
                                    WHENEVER AND WHEREVER OCCURRING,
                                    ARISING DIRECTLY OR INDIRECTLY OUT
                                    OF OR IN ANY WAY INVOLVING
                                    CONTRACTOR'S WORK . . . EQUIPMENT,
                                    TOOLS, MATERIALS, AND OTHER ITEMS
                                    WHATSOEVER FURNISHED, DELIVERED,
                                    STORED, OR OTHERWISE HANDLED BY
                                    CONTRACTOR . . . WITHOUT LIMIT AND
                                    REGARDLESS OF CAUSE OR FAULT, AS
                                    PARTICULARLY DESCRIBED IN SECTION
                                    13 (b) ABOVE.151


A.     The MSC's Indemnity-and-Release Provisions Encompass Hess's
       Breach of Contract Claims

       Hess argues that it is entitled to summary                   judgment on

Schlumberger's affirmative defense of release and counterclaim for

indemnity because "by its terms, the MS[C] 's indemnity-and-release

provisions do not apply to breach-of-contract claims and certainly

do not apply to claims between the parties alleging breach of the

precise        agreement     incorporating     those   provisions." 152   Citing

Corbitt v. Diamond M. Drilling Co., 654 F.2d 329, 333-34 (5th Cir.

1981), and Sumrall v. Ensco Offshore Co., 291 F.3d 316, 318-20 &

n.4    (5th Cir. 2 O 02)        (per curiam),    Hess argues that indemnity

provisions like the one at issue here that do not specifically

indemnify for contractual liability do not apply to claims for

breach of contract.            Citing Mobil Chemical Co. v. Blount Brothers

Corp., 809 F.2d 1175 (5th Cir. 1987), and quoting CompuCom Systems,


       151
             MSC,   §   13, Docket Entry No. 25-3, pp. 6-8.
       152
             Hess's MPSJ, p. 15, Docket Entry No. 118, p. 22.
                                        -70-
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Inc. v. WJ Global,      LLC, Civil Action No. 3:14-CV-3625-L, 2017

WL 1190492, at *5 (N.D. Tex. March 31, 2017), Hess argues that

interpretation of      the MSC's   indemnity    provision     to   apply    to

Schlumberger's own breach of the underlying contract

       "would lead to the absurd result whereby [Schlumberger]
       could materially breach the [Commercial Agreement] with
       impunity" by, for instance, delivering SCSSVs riddled
       with holes such that the valves could never be held open
       to allow for production, but still be entitled to
       indemnity or release from Hess.153

       Schlumberger responds that      "[b] y covering all claims for

property damage arising out of Schlumberger's 'work,' the knock­

for-knock provision covers breach-of-contract claims,"154 and that

"the Fifth Circuit has repeatedly distinguished Corbitt and held

that indemnity provisions cover breach-of-contract claims even

where such claims are not expressly included."155            Asserting that

the MSC not only provided Hess "a menu of remedies" in the event

that Schlumberger breached its promises, but also "excludes willful

misconduct," Schlumberger argues that it could not "materially

breach the [Commercial Agreement] with impunity. "156

       Citing Corbitt, 654 F.2d at 329, and Sumrall, 291 F.3d at 316,

Hess   argues   that   interpreting   the   language   of    the   Indemnity


       153Id. at 18, Docket Entry No. 118, p. 25.
     154STC's Opposition     to   Hess's MPSJ,    p.   13,    Docket   Entry
No. 136, p. 18.
       155Id. at 14, Docket Entry No. 136, p. 19.
       156Id. at 15, Docket Entry No. 136, p. 20.

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Provision to cover claims for breach of contract would conflict

with Fifth Circuit precedent indicating that a broad indemnity
clause    covering   "all     claims"     does    not     include    contractual
obligations.    In Corbitt the Fifth Circuit held that contractual
language creating an indemnity obligation "for injury to or death

or illness of persons" gave express notice only of claims based on
tortious injuries but not contractual claims. Corbitt, 654 F.2d at
333-34.   Shell Oil contracted with Diamond M. and Sladco to work on
a drilling operation.       Id. at 331.    Corbitt, an employee of Sladco,
sued Diamond M. in tort.        Diamond M. then sought indemnification

from Shell pursuant to their contract.              Id.    Shell subsequently
filed a third-party action seeking indemnification from Sladco
pursuant to their contract, which provided that "[Sladco] shall
indemnify and defend [Shell]                     against all claims,     suits,
liabilities and expenses on account of injury or death of
employees of Shell or [Sladco]                       arising out of or in
connection with performance of this [contract]."               Id.    The Fifth
Circuit held that Shell was not entitled to indemnification from
its contractor, Sladco, because the indemnification provision in
the Shell/Sladco contract restricted Sladco's duty to indemnify
solely to tortious obligations.           Id. at 333.       The Fifth Circuit
refused to read the phrase "all claims" to include contractual
obligations because the Shell/Sladco contract did not specifically
provide that Sladco assumed claims arising from Shell's own
separate contractual obligations.          Id.

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     In contrast,     the Fifth Circuit in Sumrall held that an

indemnitor had notice of contractual liabilities where a contract
provided indemnity "from and against all claims, losses, costs,
demands, damages, suits,         . and causes of action of whatsoever
nature or character .          and whether arising out of contract,
tort, strict liability,         . and/or any cause whatsoever."         291
F.3d at 318-19 n.4.     The Fifth Circuit reasoned that, unlike the
narrowly drawn language in Corbitt, the indemnity provisions in the
contract at issue contained expansive language that broadened the
indemnitor's right to indemnification for "all claims                       of
whatsoever nature or character .            whether or not caused by the
    . legal duty of [Santa Fe]."      Id.   The Court also stressed that
the contract specifically provided indemnity against liability
arising out of the contract.       Id.    Although Hess argues that the
MSC's Indemnity Provision is comparable to the indemnity provision
at issue in Corbitt and not comparable to the indemnity provision
at issue in Sumrall because it does not expressly provide for
indemnity against liability arising out of contract,             the court
concludes that the Indemnity Provision and facts at issue in this
case are distinguishable from those at issue in Corbitt and
comparable to those at issue in Sumrall.
     In Corbitt the Fifth Circuit stated that "[t]he contract need
not contain any special words to evince an intention to create a
right of   indemnity    for   independent     contractual   liabilities."


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Corbitt, 654 F.2d at 334. Instead, the contract need only "clearly

express such a purpose."      Id.    As in Corbitt the MSC's Indemnity
Provision does not contain the words "breach of contract," but as
in Sumrall it defines the term "claims" broadly by stating:
     "CLAIMS" shall include all claims, demands, suits, causes
     of action, losses, liabilities, damages (including,
     without limitation, compensatory, and exemplary),
     judgments, awards, obligations to defend or indemnify
     others, and other costs of every kind and character
     (including, without limitation, court costs, attorneys'
     fees, debts and interest), known or unknown, whether the
     underlying claim, demand, or suit is groundless, false or
     fraudulent. 157
In Corbitt Shell's liability was not based on personal injury,
which was the type of injury for which the                indemnification
provision expressly provided.       But in this case, for the reasons
stated in§ IV.A.l(b), above, the court has already concluded that
the injuries underlying Hess's breach of contract claims - the non­
conformities for which Hess revoked the SSVs - constitute breaches
of warranty.      The Indemnity Provision expressly references breach
of warranty by stating that
     all release . . . and indemnity obligations . . . assumed
     by [Hess] and [Schlumberger] respectively under sections
     13(c) and (d) shall be without regard to        the
     breach of warranty .          defective condition (whether
     pre-existing or otherwise) of any .      . equipment .
     or other item whatsoever, . . . or any other fault of the
     indemnified parties or any other party excepting only the
     gross negligence, recklessness or willful misconduct of
     [Hess] or [Schlumberger] , 158


     157
           MSC, § 13(a)(3), Docket Entry No. 25-3, p. 7.
       Id. at §
     158
                     13(b), Docket Entry No.      25-3,   p. 7 (emphasis
added).
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and expressly states that it applies to "all claims brought by
      . any party or person, for any and all                        . damage to or loss
of property of [Hess]                     whether real or personal .              . whenever
and wherever occurring, arising directly or indirectly out of or in
any way involving [Schlumberger's] work." 159                     Because the Indemnity

Provision broadly defines "claims" to include "all .                              causes of
action," because Hess's breach of contract claims are based on
allegations that Schlumberger breached express warranties, and
because Hess's breach of contract claims arise from work performed
by Schlumberger, the court concludes that the language in the

Indemnity Provision is broad enough to clearly express the purpose
of including such claims within the indemnity coverage.                                 See
Corbitt, 654 F.2d at 334.

       Finally, Hess argues that interpreting the Indemnity Provision
to encompass Hess's breach of contract claims would lead to an
absurd result whereby Schlumberger could materially breach the
parties' contract with impunity, but still be entitled to indemnity
or    release         from    Hess. 160      A      basic    principle       of    contract
interpretation is to interpret, to the extent possible, all the
terms in a contract without rendering any of them meaningless or
superfluous.          Chembulk Trading LLC v. Chemex Ltd., 393 F.3d 550,
555    (5th Cir.          2004).      Interpreting          the   contract    to require


       159
             Id. at   §   13 (c), Docket Entry No. 25-3, p. 7.
       160
             Hess's MPSJ, p. 18, Docket Entry No. 118, p. 25.
                                             -75-
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indemnity for breach of contract in this case would therefore be
contrary to the rules of contract interpretation if doing so
rendered meaningless the requirements that Schlumberger furnish
items that are "free from defects in design, materials, fabrication
and other workmanship,"              and "conform to AHC's specifications,

drawings or other descriptions contained in the applicable service
agreement, purchase order, work order or other project document." 161
      Although Schlumberger argues that the injuries associated with
Hess's alleged breaches of contract are property damages, Hess
argues that they are not property damages but, instead, economic
damages.       Thus, even according to Hess there are scenarios in which
Schlumberger could breach the parties' contract that do not fall
under the indemnity provision.            See Energy XXI, 787 F. Supp. 2d at
608 (recognizing that a similarly worded indemnity clause did not
render a good and workmanlike manner clause meaningless in all
cases)        The court's conclusion that the Indemnity Provision is
broad enough to encompass Hess's claims for breach of contract does
not   necessarily           render    meaningless   the   requirements   that
Schlumberger furnish items that are "free from defects in design,
materials, fabrication and other workmanship," and "conform to
AHC's specifications, drawings or other descriptions contained in
the applicable service agreement, purchase order, work order or



      161
            MSC,   §   2(a), Docket Entry No. 25-3, p. 3.
                                         -76-
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other project document." 162          Accordingly, the court concludes that

Hess is not entitled to summary judgment that the MSC's indemnity­
and-release provisions do not apply to breach-of-contract claims. 163


B.     Hess Is Entitled to Partial Summary Judgment on Schlumberger's
       Affirmative Defense of Release and Counterclaim for Indemnity

       Hess argues that it is entitled to summary judgment on

Schlumberger's affirmative defense of release and counterclaim for
indemnity because the claims that it has asserted in this action do
not seek recovery for "damage to or loss of" Hess's property. 164
For the reasons stated in § V.A.2, above, the court has already
concluded that Hess's claims for costs to purchase replacements for

the failed valves, costs to retrieve and replace the failed valves,
and lost profits from the Gulfstar One facility are not claims for
damage to or loss of Hess's property, but that Hess's claims for
methanol contamination are claims for damage to or loss of Hess's
property.         Accordingly, the court concludes that Hess is entitled
to    summary       judgment   that   its   claims   for   costs   to   purchase
replacements for the failed SSVs, for costs to retrieve and replace
the failed SSVs, and for lost profits from Gulfstar One are not
claims for "damage to or loss of" Hess's property, but that its
claim for costs due to methanol contamination is a claim for damage
to Hess's property that Hess has released.


       1 62   MSC, § 2(a), Docket Entry No. 25-3, p. 3.
       163 rd.


       164
              Hess' s MPSJ, Docket Entry No. 118, p. 15.
                                        -77-
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                       VII.   Conclusions and Order

     For the reasons stated in§ V, above, the court concludes that
Schlumberger is entitled to summary judgment on Hess's claim for
methanol contamination because that is a claim for damage to or
loss of Hess's property that Hess released pursuant to § 13(c) of

the MSC - but that Schlumberger is not otherwise entitled to

summary judgment.      Accordingly, Defendant Schlumberger Technology
Corporation's Motion for Summary Judgment (Docket Entry No. 116) is

GRANTED IN PART and DENIED IN PART.

     For the reasons stated in § VI, above, the court concludes
that Hess is entitled to summary           judgment on Schlumberger's
affirmative defense of release and counterclaim for indemnity with
respect to Hess's claims for costs to purchase replacements for the
failed valves, costs to retrieve and replace the failed valves, and
lost profits from Gulfstar One because those are not claims for
damage to or loss of Hess's property - but that Hess is not

otherwise   entitled     to   summary   judgment.     Accordingly,     Hess
Corporation's Motion for Partial Summary Judgment on Schlumberger's
Affirmative Defense of Release and Counterclaim for Indemnity

(Docket Entry Nos. 117 (redacted) and 118 (unredacted)) is GRANTED

IN PART and DENIED IN PART. 165


       The court has allowed the parties extraordinary leeway in
     165

submitting lengthy briefs and other written materials in connection
with the pending motions. As the length of this Memorandum Opinion
and Order indicates, the court has expended considerable time
                                                     (continued...)
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     For the reasons stated at the beginning of this Memorandum

Opinion and Order, Hess Corporation's Motion to Exclude Expert
Report of Lawyer Cary A. Moomjian (Docket Entry Nos. 119 and 120)

is GRANTED; Schlumberger Technology Corporation's Motion to Exclude

the Expert Testimony of Dennis Read          (Docket Entry No. 121)         is

DENIED WITHOUT PREJUDICE;       Schlumberger Technology Corporation's

Motion to Exclude the Expert Testimony of David Hirth (Docket Entry

No. 122)     is DENIED WITHOUT PREJUDICE;       Schlumberger Technology

Corporation's Motion to Exclude the Expert Testimony of Peter

Koopmans     (Docket Entry No.    123)    is DENIED WITHOUT PREJUDICE;

Schlumberger Technology Corporation's Motion to Exclude the Expert

Testimony of Barry Pulliam (Docket Entry No. 124) is DENIED WITHOUT

PREJUDICE;       and Schlumberger Technology Corporation's Motion to

Exclude the Expert Testimony of Rolle Hogan (Docket Entry No. 125)

is DENIED AS MOOT.

     Docket Call will be held on December 11, 2019, at 11:30 a.m.,
in Courtroom 9-B, 9th Floor, United States Courthouse, 515 Rusk
Street, Houston, Texas 77002.


           continued)
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reading these papers and performing a significant amount of
independent research to be as fully informed as possible when
addressing the parties' arguments.    While, because of the sheer
volume of information presented, it is not impossible that some
arguments were overlooked, the parties should assume that failure
to expressly address a particular argument in this Memorandum
Opinion and Order reflects the court's judgment that the argument
lacked sufficient merit to warrant discussion. Accordingly, the
court strongly discourages the parties from seeking reconsideration
based on arguments they have previously raised or that they could
have raised.
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        Hess and Schlumberger have each submitted lengthy proposed

findings of fact and conclusions of law. 166          Many of the proposed
findings of fact could be agreed to or may not be necessary.
Moreover, the proposed findings of fact and conclusions of law do

not follow the same format.         The parties are ORDERED to submit a

Revised Joint Pretrial Order by December 4, 2019, that includes a

joint submission of agreed and disputed facts presented in chart

form.         The chart should be arranged in some logical order, either

by date, by subject matter, or following some other organizational
format that will assist the court to follow and consider the
evidence at trial. The chart should include a column for the court
to make notes during trial, and the text should be color-coded to

show findings of fact to which the parties agree in one color,
i.e., black, and proposed findings of fact for which no agreement

can be reached in different colors, with one color for                 Hess's
proposed findings of fact, and another color for Schlumberger's
proposed findings of fact.        An example of such a chart follows:


                 Proposed Findings of Fact                  Comments
1    □         Agreed findings of fact in black.
2    □         Disputed findings of fact
               proposed by Hess in a color other
               than black.
3    □         Disputed findings of fact
               proposed by Schlumberger in a
               different color other than black.


       Exhibits M and N to Joint Pretrial Order,
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                                                               Docket Entry
Nos. 151-13 and 151-14.
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The parties shall deliver two hard-copies of the chart to chambers
printed on large format ( 11"xl 7")       paper with the Revised Joint

Pretrial Order.

     SIGNED at Houston, Texas, on this 7th day of November, 2019.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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